         Supreme Judicial Court for the Commonwealth   Full Court: SJC-13663   Filed: 9/24/2024 10:59 AM
     Case 1:25-cv-10399-FDS                Document 2-3            Filed 02/18/25          Page 1 of 77




                     COMMONWEALTH OF MASSACHUSETTS
                         SUPREME JUDICIAL COURT

Suffolk, ss.                                                                            No. SJC-13663


                                       COMMONWEALTH,
                                           Appellee

                                                       v.

                                          KAREN READ,
                                        Defendant-Appellant.


        On Appeal from Reservation and Report of G.L. c. 211, § 3 Petition



                       BRIEF OF APPELLANT KAREN READ


                                                             MARTIN G. WEINBERG
                                                             Attorney for Appellant
                                                             BBO #519480
                                                             20 Park Plaza, Suite 1000
                                                             Boston, MA 02116
                                                             (617) 227-3700
                                                             owlmgw@att.net

                                                             MICHAEL PABIAN
                                                             Attorney for Appellant
                                                             BBO #684589
                                                             20 Park Plaza, Suite 1000
                                                             Boston, MA 02116
                                                             (617) 227-3700
                                                             pabianlaw38@gmail.com

                                                             ALAN J. JACKSON
                                                             Attorney for Appellant, Pro Hac Vice
                                                        1
     Case 1:25-cv-10399-FDS   Document 2-3   Filed 02/18/25   Page 2 of 77




                                         Werksman Jackson & Quinn LLP
                                         888 West Sixth Street, Fourth Floor
                                         Los Angeles, CA 90017
                                         (213) 688-0460
                                         ajackson@werksmanjackson.com

                                         DAVID R. YANNETTI
                                         Attorney for Appellant
                                         BBO #555713
                                         44 School St., Suite 1000A
                                         Boston, MA 02108
                                         (617) 338-6006
                                         law@davidyannetti.com
September 24, 2024




                                     2
       Case 1:25-cv-10399-FDS    Document 2-3    Filed 02/18/25   Page 3 of 77




                            TABLE OF CONTENTS

STATEMENT OF ISSUES PRESENTED………………………………………...8

STATEMENT OF CASE…………………………………………………………..8

STATEMENT OF FACTS ……………………………………………………….10

SUMMARY OF ARGUMENT…………………………………………………...17

ARGUMENT……………………………………………………...........................19

I.     The Jury’s Unanimous Conclusion Following Trial that Ms. Read Is Not
       Guilty on Counts 1 and 3 Constitutes an Acquittal and Precludes Re-
       Prosecution…………………………………………………………………22

II.    Alternatively, the Defense Is Entitled to a Post-Verdict Judicial Inquiry to
       Determine Whether the Evidence Supports the Juror Representations as to
       Having Acquitted Ms. Read………………………………………………..27

III.   Re-Prosecution Is Independently Barred Because There Was No Manifest
       Necessity to Declare a Mistrial on Counts on which the Jury Was Not
       Deadlocked…………………………………………………………………34

IV.    Assuming Arguendo this Court Finds that Counsel Consented to the
       Mistrial, the Defendant’s Personal Consent Was Required………………..49

CONCLUSION…………………………………………………………………...50




                                         3
       Case 1:25-cv-10399-FDS            Document 2-3        Filed 02/18/25       Page 4 of 77




                                 TABLE OF AUTHORITIES

Cases

A Juvenile v. Commonwealth, 392 Mass. 52 (1984)............................. 25, 33, 34, 47

Arizona v. Washington, 434 U.S. 497 (1978) .................................................. passim

Ball v. United States, 163 U.S. 662 (1896) ....................................................... 23, 24

Blueford v. Arkansas, 566 U.S. 599 (2012) ..................................................... passim

Commonwealth v. Babb, 389 Mass. 275 (1983) ......................................................22

Commonwealth v. DiBenedetto, 94 Mass. App. Ct. 682 (2019) ..............................34

Commonwealth v. Dixon, 395 Mass. 149 (1985)…………………………………32

Commonwealth v. Edwards, 491 Mass. 1 (2022) ....................................................40

Commonwealth v. Fidler, 377 Mass. 192 (1979)……………………..27, 28, 29, 32

Commonwealth v. Floyd P., 415 Mass. 826 (1993).................................................26

Commonwealth v. Foster, 411 Mass. 762 (1992) ............................................. 47, 48

Commonwealth v. Guisti, 434 Mass. 245 (2001)…………………………………32

Commonwealth v. Horrigan, 41 Mass. App. Ct. 337 (1996)...................... 35, 36, 44

Commonwealth v. Jenkins, 416 Mass. 736 (1994) ..................................................42

Commonwealth v. LaFontaine, 32 Mass. App. Ct. 529 (1992) ...............................48

Commonwealth v. McCalop, 485 Mass. 790 (2020) ...............................................28

Commonwealth v. McCowen, 458 Mass. 461 (2010)……………………………..27

Commonwealth v. Moore, 474 Mass. 541 (2016)…………………………………27


                                                   4
       Case 1:25-cv-10399-FDS            Document 2-3        Filed 02/18/25       Page 5 of 77




Commonwealth v. Nicoll, 452 Mass. 816 (2008)........................................ 35, 38, 39

Commonwealth v. Nolan, 427 Mass. 541 (1998)…………………………………49

Commonwealth v. Phetsaya, 40 Mass. App. Ct. 293 (1996) ............................ 40, 41

Commonwealth v. Roth, 437 Mass. 777 (2002) .......................................... 46, 47, 48

Commonwealth v. Semedo, 456 Mass. 1 (2010) ......................................................41

Commonwealth v. Steward, 396 Mass. 76 (1985) ...................................... 19, 35, 36

Commonwealth v. Taylor, 486 Mass. 469 (2020) ............................................ passim

Commonwealth v. Zekirias, 443 Mass. 27 (2004)………………………………...26

Cruz v. Commonwealth, 461 Mass. 664 (2012).......................................... 34, 35, 48

Daniels v. Commonwealth, 441 Mass. 1017 (2004) ................................................49

Erlinger v. United States, 144 S. Ct. 1840 (2024) ............................................ 19, 20

Fuentes v. Commonwealth, 448 Mass. 1017 (2007) ......................................... 34, 45

Gonzalez v. United States, 553 U.S. 242 (2008)......................................................49

Green v. United States, 355 U.S. 185 (1957) ................................................... 20, 21

Hudson v. Louisiana, 450 U.S. 40 (1981) ...............................................................24

Oregon v. Kennedy, 456 U.S. 667 (1982) ................................................................35

Pellegrine v. Commonwealth, 446 Mass. 1004 (2006) ..................................... 40, 43

Picard v. Commonwealth, 400 Mass. 115 (1987) ...................................................36

Ray v. Commonwealth, 463 Mass. 1 (2012) ............................................... 34, 41, 45

Remmer v. United States, 347 U.S. 227 (1954)…………………………………...32


                                                   5
       Case 1:25-cv-10399-FDS                 Document 2-3           Filed 02/18/25         Page 6 of 77




State v. Murdaugh, No. 2023-000392 (S.C. Aug. 13, 2024) ...................................31

United States v. Dinitz, 424 U.S. 600 (1976) ...........................................................35

United States v. Goldstein, 479 F.2d 1061 (2d Cir. 1973).......................................44

United States v. Hashimi, 110 F.4th 621 (4th Cir. 2024)…………………………49

United States v. Jorn, 400 U.S. 470 (1971) (plurality opinion) ....................... 35, 48

United States v. Martin Linen Supply Co., 430 U.S. 564 (1977) ......... 20, 21, 22, 49

United States v. McIntosh, 380 F.3d 548 (1st Cir. 2004) ................................. 43, 44

United States v. Mespoulede, 597 F.2d 329 (2d Cir. 1979) .............................. 37, 38

United States v. Tsarnaev, 96 F.4th 441 (1st Cir. 2024) .................................. 29, 30

United States v. You, 382 F.3d 958 (9th Cir. 2004) .................................................44

Wallace v. Havener, 552 F.2d 721 (6th Cir. 1977)..................................................38


Constitutional Provisions

Fifth Amendment to U.S. Constitution ....................................................................20

Sixth Amendment to U.S. Constitution ...................................................................20


Statutes

G.L. c. 234A, § 68C .......................................................................................... 12, 42


Rules

Mass. R. Crim. P. 27(b) ................................................................................... passim


                                                         6
   Case 1:25-cv-10399-FDS   Document 2-3   Filed 02/18/25   Page 7 of 77




Mass. Guide Evid. 606(b)…………………………………………………………29

Mass. Guide Evid. 606(c)(5)……………………………………………………...29




                                   7
     Case 1:25-cv-10399-FDS       Document 2-3     Filed 02/18/25   Page 8 of 77




                    STATEMENT OF ISSUES PRESENTED

      1. Whether the jury’s final, unanimous agreement, following trial, that Ms.

          Read is not guilty of Counts 1 and 3 constitutes an acquittal for Double

          Jeopardy purposes and precludes retrial on those counts.

      2. Whether Ms. Read was alternatively entitled to a post-trial inquiry to

          substantiate her claim that the jury acquitted her of Counts 1 and 3.

      3. Whether there was manifest necessity to support the declaration of a

          mistrial on Counts 1 and 3 where (1) the jury was not deadlocked, and in

          fact had reached a unanimous agreement, on those counts; (2) the trial

          court provided no opportunity for Ms. Read or her counsel to be heard

          regarding the declaration of mistrial; and (3) the record reflects no

          consideration of alternatives to a mistrial when in fact such alternatives

          existed and were codified in Mass. R. Crim. P. 27(b).

                             STATEMENT OF CASE

      On June 9, 2022, Ms. Read was charged in three separate indictments with

second-degree murder in violation of G.L. c. 265, § 1 (Count 1); manslaughter

while operating under the influence of alcohol in violation of G.L. c. 265, § 13½

(Count 2); and leaving the scene of a collision resulting in death in violation of




                                          8
     Case 1:25-cv-10399-FDS       Document 2-3     Filed 02/18/25   Page 9 of 77




G.L. c. 90, § 24(2)(a½)(2). (R. 139-44).1 A jury trial began on April 16, 2024.

The trial court declared a mistrial on July 1, 2024.

      Ms. Read moved to dismiss Counts 1 and 3 on Double Jeopardy grounds,

contending (1) that the jury reached a final, unanimous decision to acquit her on

those charges; and (2) that there was no manifest necessity supporting the mistrial

given the evidence that the jury was not deadlocked, but was instead in agreement,

on those counts. As set forth in more detail infra, the motion was predicated upon

affidavits by counsel reflecting statements of five deliberating jurors that the jury

had agreed Ms. Read is not guilty of the relevant counts.

      After hearing oral argument on August 9, 2024, on August 23, the trial court

issued an order denying Ms. Read’s motion to dismiss. The court “accept[ed],”

“for the purposes of” the motion to dismiss, that the juror statements quoted in the

defense affidavits were “true and accurate.” Order at 9 (R. 396, Add. 61)

(emphasis added). It went on to hold, however, that “[b]ecause there was no open

and public verdict affirmed in open court rendered in this case, the defendant was

not acquitted of any of the charges.” Id. at 10 (R. 397, Add. 62). The court

similarly rejected the defense argument regarding lack of manifest necessity,



1
  The page numbers for the record appendix cited in this brief appear in the lower
lefthand corner of each appendix page. The page numbers in the center of the page
correspond to the record appendix filed in support of Ms. Read’s single justice
petition.
                                           9
     Case 1:25-cv-10399-FDS      Document 2-3     Filed 02/18/25    Page 10 of 77




finding that (a) Ms. Read’s counsel consented to a mistrial via their failure to

object; and (b) the jury notes reflecting an “impasse” established the requisite

manifest necessity. See id. at 15-16 (R. 402-03, Add. 67-68). Finally, the court

rejected the defense’s alternative request for a post-trial inquiry on the grounds that

Ms. Read’s argument did “not implicate racial bias or her right to receive an

impartial trial” and because it believed that the request implicated “the substance

of the jury’s deliberations.” Id. at 20 (R. 407, Add. 72).

      Ms. Read’s retrial is currently scheduled for January 27, 2025. (R. 102).

      On September 11, 2024, Ms. Read filed a petition for relief pursuant to G.L.

c. 211, § 3. (R. 5). On September 19, 2024, the single justice (Dewar, J.) reserved

and reported the case, without decision, to the full Court. (R. 423).

                            STATEMENT OF FACTS

      On June 25, 2024, the jury began deliberations after receiving instructions

from the trial court. The court instructed the jurors, “You should continue

deliberating until you have reached a final verdict on each charge.” June 25, 2024

Tr. at 46 (R. 190). It also noted that Count 2 contained “lesser include[d]

charge[s]” of involuntary manslaughter and motor vehicle homicide, which the

jury should consider “even if [the Commonwealth] fail[ed] to prove the greater

charge of manslaughter while operating a motor vehicle under the influence of

liquor.” Id. at 35, 38 (R. 179, 182).


                                          10
     Case 1:25-cv-10399-FDS      Document 2-3     Filed 02/18/25   Page 11 of 77




      The following day, on June 26, 2024, outside the presence of the jury,

counsel for Ms. Read raised an issue regarding the verdict form. With respect to

Count 2, the original verdict slip provided only one option to find Ms. Read not

guilty before going on to ask whether Ms. Read was guilty of the offense charged,

or guilty of one of the two lesser included offenses. See Exhibit B to Affidavit in

Support of Motion to Amend Jury Verdict Slip (R. 239). Counsel asked that the

form be amended to provide “not guilty options for the subordinate charges under

Count 2.” June 26, 2024 Tr. at 5 (R. 212). The trial court initially indicated its

disagreement with counsel’s request. See id. at 8 (R. 215). However, after

considering the matter further, the court agreed to provide supplemental

instructions and an amended verdict slip. See id. at 9-14 (R. 216-21). Later that

day, the court provided the supplemental instructions, telling jurors that “Count 2

encompasses three separate charges, the most serious of which is manslaughter

while operating a vehicle under the influence of liquor.” Id. at 16 (R. 223). The

jury should first focus on that “lead charge” and, “if the Commonwealth . . . failed

to prove that crime beyond a reasonable doubt, then . . . consider the remaining

lesser included offenses in descending order.” Id. (R. 223).

      On June 28, 2024, the jury sent the following note to the court: “I am writing

to inform you on behalf of the jury that despite our exhaustive review of the

evidence and our diligent consideration of all disputed evidence, we have been


                                         11
     Case 1:25-cv-10399-FDS     Document 2-3     Filed 02/18/25    Page 12 of 77




unable to reach a unanimous verdict.” June 28, 2024 Tr. at 4 (R. 250). The court

asked counsel for their views “on whether there ha[d] been due and thorough

deliberations” sufficient to support the giving of a so-called Tuey-Rodriguez

charge. Id. at 5 (R. 251); see also G.L. c. 234A, § 68C (permitting charge “[i]f a

jury, after due and thorough deliberation, returns to court without having agreed on

a verdict”). The Commonwealth responded that the charge should not be given

because there “simply ha[d]n’t been sufficient time yet.” June 28, 2024 Tr. at 5 (R.

251). Counsel for Ms. Read disagreed, requesting that the court “read the Tuey-

Rodriguez model instruction and go from there.” Id. at 6 (R. 252). The trial court

sided with the Commonwealth ruling, “I am not prepared to find that there have

been due and thorough deliberations at this point. So I am going to send them back

out.” Id. at 7 (R. 253).

      On July 1, 2024, the jury presented another note, stating:

             despite our commitment to the duty entrusted to us, we
             find ourselves deeply divided by fundamental differences
             in our opinions and state of mind. The divergence in our
             views are not rooted in a lack of understanding or effort
             but deeply held convictions that each of us carry,
             ultimately leading to a point where consensus is
             unattainable. We recognize the weight of this admission
             and the implications it holds.

July 1, 2024 Tr. at 7 (R. 264). Upon being asked by the court, the parties reiterated

their same previously expressed views, with the Commonwealth taking the

position that due and thorough deliberations had not yet occurred and Ms. Read’s
                                         12
     Case 1:25-cv-10399-FDS      Document 2-3     Filed 02/18/25    Page 13 of 77




counsel arguing that the court should give a Tuey-Rodriguez instruction. See id. at

4-6 (R. 261-63). This time, the trial court decided to give the requested instruction.

      Later that day, the jury sent yet another note. Thereafter, without reading

the note to counsel, and without providing counsel with either an opportunity to be

heard or an opportunity to consult with their client about the implication of a

potential mistrial on one or more charges, the trial court simply stated, “The jury is

at an impasse” and called in the jurors. Id. at 10 (R. 267). It then read the note on

the record:

              despite our rigorous efforts, we continue to find ourselves
              at an impasse. Our perspectives on the evidence are
              starkly divided. Some members of the jury firmly
              believe that the evidence surpasses the burden of proof,
              establishing the elements of the charges beyond a
              reasonable doubt. Conversely, others find the evidence
              fails to meet this standard and does not sufficiently
              establish the necessary elements of the charges. The
              deep division is not due to a lack of effort or diligence
              but, rather, a sincere adherence to our individual
              principles and moral convictions. To continue to
              deliberate would be futile and only serve to force us to
              compromise these deeply held beliefs.

Id. at 11 (R. 268).

      After reading the note, and without soliciting the views of counsel in any

respect, the trial court stated, “I am not going to do that to you, folks. Your service

is complete. I am declaring a mistrial in this case.” Id. (R. 268). The jury was




                                          13
     Case 1:25-cv-10399-FDS         Document 2-3    Filed 02/18/25   Page 14 of 77




then excused and ordered to leave the courtroom. Counsel was not invited to speak

during this entire interaction. See id. (R. 268).

      The following day, on July 2, 2024, unsolicited by any party, one of the

jurors (“Juror A”) contacted one of the attorneys for Ms. Read, Alan Jackson.

Juror A stated that s/he “wish[ed] to inform [Attorney Jackson] of the true results”

of the jury’s deliberations. Affidavit of Alan J. Jackson ¶ 4 (R. 286). According to

Juror A, “the jury unanimously agreed that Karen Read is NOT GUILTY of Count

1 (second degree murder). Juror A was emphatic that Count 1 (second degree

murder) was ‘off the table,’ and that all 12 of the jurors were in agreement that she

was NOT GUILTY of such crime.” Id. ¶ 5 (R. 287). “[T]he jury also unanimously

agreed that Karen Read is NOT GUILTY of Count 3 (leaving the scene with

injury/death).” Id. ¶ 6 (R. 287).

      One day later, on July 3, 2024, another attorney for Ms. Read, David

Yannetti, was contacted by “two different individuals (hereinafter, ‘Informant B’

and ‘Informant C’) who had received information from two distinct jurors

(hereinafter ‘Juror B’ and ‘Juror C’) both of whom were part of the deliberating

jury in this case.” Affidavit of David R. Yannetti ¶ 2 (R. 283).

      Informant B sent Attorney Yannetti “a screenshot he/she had received from

someone (hereinafter, ‘Intermediary B’) of text messages that Intermediary B had

received from Juror B. In that screenshot, Juror B texted the following to


                                           14
     Case 1:25-cv-10399-FDS       Document 2-3   Filed 02/18/25   Page 15 of 77




Intermediary B: ‘It was not guilty on second degree. And split in half for the

second charge. . . . I thought the prosecution didn’t prove the case. No one

thought she hit him on purpose or even thought she hit him on purpose [sic].’” Id.

¶ 4 (R. 283). Juror B later placed an unsolicited phone call to Attorney Yannetti,

confirming that the information contained in the publicly filed Affidavit was

accurate. See Supplemental Affidavit of David R. Yannetti ¶ 4 (R. 330). “Juror B

clarified, however, that he/she meant to write, ‘No one thought she hit him on

purpose or even knew that she had hit him.’” Id. (R. 330-31). Juror B further told

Attorney Yannetti s/he “believe[d] that every member of the jury, if asked, w[ould]

confirm that the jury reached Not-Guilty verdicts on indictments (1) and (3).” Id.

¶ 5 (R. 331).

      Informant C had been in contact with another individual (“Intermediary C”)

who is a co-worker and friend of Juror C and joined a Zoom meeting during which

Juror C discussed the trial. Informant C sent Attorney Yannetti the below

screenshots of his/her text messages with Intermediary C regarding what Juror C

revealed in the Zoom meeting:

                Intermediary C:   “no consideration for murder 2. manslaughter
                                  started polling at 6/6 then ended deadlock @
                                  4no8yes.”

                ....

                Informant C:      “interesting. if it was no consideration for
                                  murder two, shouldn’t she have been acquitted
                                          15
     Case 1:25-cv-10399-FDS      Document 2-3      Filed 02/18/25   Page 16 of 77




                                 on that count. and hung on the remaining
                                 chargers [sic] goes back to the jury verdict
                                 slip that was all confusing”

             Intermediary C:     “she should’ve been acquitted I agree. Yes, the
                                 remaining charges were what they were hung
                                 on. and that instruction paper was very
                                 confusing.”

Affidavit of David R. Yannetti ¶ 10 (R. 284-85).

      In the ensuing days, after the filing of Ms. Read’s initial motion to dismiss,

but before the Superior Court hearing on that motion, Attorney Jackson was

contacted by two other deliberating jurors. The first, “Juror D,” stated “that the

jury reached NOT GUILTY verdicts on Count 1 and Count 3, and that the

disagreement was solely as to Count 2 and its lesser offenses.” Supplemental

Affidavit of Alan J. Jackson ¶ 5 (R. 293). S/he recounted that, “after the jury was

excused and aboard the bus, many of the jurors appeared uncomfortable with how

things ended, wondering, Is anyone going to know that we acquitted [Karen Read]

on Count 1 and 3?” Id. ¶ 8 (R. 293). Juror D unequivocally told counsel, “Every

one of us will agree and acknowledge that we found [Karen Read] NOT GUILTY

of Counts 1 and 3. Because that’s what happened.” Id. ¶ 10 (R. 293). “Juror E”

similarly stated “that the jury was ‘unanimous on 1 and 3’ that Karen Read was

NOT GUILTY of those charges.” Second Supplemental Affidavit of Alan J.

Jackson ¶ 4 (R. 323).



                                         16
     Case 1:25-cv-10399-FDS      Document 2-3     Filed 02/18/25   Page 17 of 77




       The Commonwealth filed a post-trial notice of disclosure informing the

court that, “[o]n Sunday July 21, 2024, Assistant District Attorney Adam Lally

received an unsolicited voicemail on his office’s phoneline from an individual,

who identified their self as a juror by full name and seat number.” Commonwealth

Notice at 1 (R. 325). The message stated, “it is true what has come out recently

about the jury being unanimous on charges 1 and 3.” Id. (R. 325). ADA Lally

received a subsequent message from the same individual stating he could “confirm

unanimous on charges one and three, as not guilty and as of last vote 9-3 guilty on

the manslaughter charges . . . .” Id. (R. 325). The Commonwealth additionally

“received emails from three individuals who identified themselves as jurors” and

“indicated they wished to speak anonymously.” Id. (R. 325). The Commonwealth

declined to substantively respond to the voice messages or emails, instead claiming

in responsive emails that it was ethically prohibited from discussing such matters.

See id. (R. 325).

                          SUMMARY OF ARGUMENT

      The very day after the trial court declared a mistrial, counsel for Ms. Read

began receiving unsolicited communications from five of the twelve deliberating

jurors (in four instances, directly from the jurors themselves) indicating,

unequivocally and unconditionally, that the jury had a firm and unwavering 12-0

agreement that Ms. Read is not guilty of two of the three charges against her,


                                          17
     Case 1:25-cv-10399-FDS      Document 2-3      Filed 02/18/25   Page 18 of 77




including the charge of murder in the second degree. Crucially, neither the

Commonwealth, which frankly acknowledged receiving communications from one

juror to the same effect, nor the Superior Court judge, who expressly accepted the

veracity of juror statements relayed in affidavits by counsel, disputed the factual

basis for the defense motion in any meaningful respect. Despite the widespread

media given to the defense filings of the attorney affidavits attesting to the jurors’

representation they had acquitted Ms. Read of two of three charges, no juror

disputed the facts represented by the attorneys in any manner. Given the central

importance that acquittals have held in our criminal justice system for hundreds of

years, the defense respectfully submits that the jury’s unanimous agreement

precludes re-prosecution of Ms. Read on Counts 1 and 3 and mandates dismissal of

those charges. (pages 22-26). This presents an issue of first impression for this

Court, as does the defense’s alternative contention that Ms. Read was entitled to a

post-verdict inquiry to substantiate her claim and that this Court’s precedents

permitting such inquiry regarding claims of external influence and/or juror bias

should be extended to the present context. (pages 27-34).

      Independently, while a jury deadlock constitutes manifest necessity to

support a mistrial, there is no authority for the proposition that disagreement as to

some counts constitutes manifest necessity for the declaration of a mistrial with

respect to all counts. Put another way, there was no deadlock as to two of the


                                          18
     Case 1:25-cv-10399-FDS      Document 2-3     Filed 02/18/25   Page 19 of 77




counts on which the trial court declared a mistrial. The trial court’s finding that

Ms. Read’s counsel consented to the mistrial is contrary to both the factual record

and the clear binding case law. The trial court in its opinion erroneously failed to

apply clear state and federal case law that places the burden of establishing

manifest necessity solely and exclusively on the prosecution rather than on the

defendant. The trial court also failed to address the two guiding principles set forth

by this Court in Commonwealth v. Steward, 396 Mass. 76, 79 (1985), and

Commonwealth v Taylor, 486 Mass. 469, 484 (2020) (citation omitted) – that

before a mistrial is declared “(1) counsel must [have been] given full opportunity

to be heard and (2) the trial judge must [have given] careful consideration to

alternatives to a mistrial.” The court instead erroneously equated a request for a

Tuey-Rodriguez instruction, which is designed to encourage a verdict, with consent

to a mistrial. In sum, whether the jury acquitted Ms. Read or, alternatively, was

merely not deadlocked on the relevant counts, the Constitution requires the same

result: dismissal. (pages 34-49).

                                    ARGUMENT

      The ancient right to a jury trial is no mere “procedural formalit[y] but [rather

a] fundamental reservation[] of power to the American people.” Erlinger v. United

States, 144 S. Ct. 1840, 1850 (2024) (citation omitted). “By requiring the

Executive Branch to prove its charges to a unanimous jury beyond a reasonable


                                          19
     Case 1:25-cv-10399-FDS       Document 2-3      Filed 02/18/25   Page 20 of 77




doubt, the Fifth and Sixth Amendments seek to mitigate the risk of prosecutorial

overreach and misconduct, including the pursuit of ‘pretended offenses’ and

‘arbitrary convictions.’” Id. (citation omitted). “Prominent among the reasons

colonists cited in the Declaration of Independence for their break with Great

Britain was the fact Parliament and the Crown had ‘depriv[ed] [them] in many

cases, of the benefits of Trial by Jury.’” Id. at 1848 (citation omitted). “After

securing their independence, the founding generation sought to ensure what

happened before would not happen again. As John Adams put it, the founders saw

representative government and trial by jury as ‘the heart and lungs’ of liberty.” Id.

(citation omitted). It follows that a jury acquittal is entitled to the utmost respect in

our criminal justice system. See Taylor, 486 Mass. at 481 (“Perhaps the most

fundamental rule in the history of double jeopardy jurisprudence has been that [a]

verdict of acquittal . . . could not be reviewed, on error or otherwise, without

putting [a defendant] twice in jeopardy, and thereby violating the Constitution.”

(quoting United States v. Martin Linen Supply Co., 430 U.S. 564, 571 (1977)).

      “The Double Jeopardy Clause provides that no person shall ‘be subject for

the same offence to be twice put in jeopardy of life or limb.’” Blueford v.

Arkansas, 566 U.S. 599, 605 (2012) (quoting U.S. Const., Amdt. 5). “The

underlying idea, one that is deeply ingrained in at least the Anglo-American system

of jurisprudence, is that the State with all its resources and power should not be


                                           20
     Case 1:25-cv-10399-FDS      Document 2-3     Filed 02/18/25    Page 21 of 77




allowed to make repeated attempts to convict an individual for an alleged offense.”

Green v. United States, 355 U.S. 185, 187 (1957). “Even if the first trial is not

completed, a second prosecution may be grossly unfair. It increases the financial

and emotional burden on the accused, prolongs the period in which [s]he is

stigmatized by an unresolved accusation of wrongdoing, and may even enhance the

risk that an innocent defendant may be convicted. . . . Consequently, as a general

rule, the prosecutor is entitled to one, and only one, opportunity to require an

accused to stand trial.” Arizona v. Washington, 434 U.S. 497, 504-05 (1978)

(internal footnotes omitted); see also Martin Linen, 430 U.S. at 569 (“At the heart

of this policy is the concern that permitting the sovereign freely to subject the

citizen to a second trial for the same offense would arm Government with a potent

instrument of oppression.”); Blueford, 566 U.S. at 605 (“The Clause guarantees

that the State shall not be permitted to make repeated attempts to convict the

accused, thereby subjecting h[er] to embarrassment, expense and ordeal and

compelling h[er] to live in a continuing state of anxiety and insecurity, as well as

enhancing the possibility that even though innocent [s]he may be found guilty.”

(citation omitted)).

      This Court “review[s] determinations regarding double jeopardy de novo.”

Taylor, 486 Mass. at 477.




                                          21
     Case 1:25-cv-10399-FDS       Document 2-3     Filed 02/18/25   Page 22 of 77




I.    The Jury’s Unanimous Conclusion Following Trial that Ms. Read Is Not
      Guilty on Counts 1 and 3 Constitutes an Acquittal and Precludes Re-
      Prosecution

      “[W]hat constitutes an ‘acquittal’ is not to be controlled by the form” of the

action in question. Taylor, 486 Mass. at 482 (quoting Martinez v. Illinois, 572 U.S.

833, 841-42 (2014)). “Rather, [the Court] must determine whether” the action

“actually represents a resolution, correct or not, of some or all of the factual

elements of the offense charged.” Commonwealth v. Babb, 389 Mass. 275, 281

(1983) (quoting Martin Linen, 430 U.S. at 571). The mere presence or absence of

“checkmarks on a form” is not dispositive. Taylor, 486 Mass. at 482 (citation

omitted).

      Here, the affidavits by Attorneys Jackson and Yannetti reflect statements by

five deliberating jurors that the jury had reached a final, unanimous conclusion that

Ms. Read is not guilty of Counts 1 and 3. There was nothing tentative about the

jurors’ statements. To the contrary, they were definitive in describing the result of

the jury’s deliberations. See Affidavit of Alan J. Jackson ¶ 5 (R. 287) (“Juror A

was emphatic that Count 1 (second degree murder) was ‘off the table,’ and that all

12 of the jurors were in agreement that she was NOT GUILTY of such crime.”);

Affidavit of David R. Yannetti ¶ 4 (R. 283) (reflecting text message from Juror B,

“It was not guilty on second degree. . . . No one thought she hit him on purpose or

even [knew that she had hit him]”); Id. ¶ 10 (R. 284-85) (reflecting Juror C’s


                                          22
     Case 1:25-cv-10399-FDS      Document 2-3    Filed 02/18/25   Page 23 of 77




statement, relayed by Intermediary C, that there was “no consideration for murder

2” and Ms. Read “should’ve been acquitted” on that count); Supplemental

Affidavit of Alan J. Jackson ¶ 10 (R. 293) (“Juror D, without hesitation, said in

substance, Every one of us will agree and acknowledge that we found [Karen

Read] NOT GUILTY of Counts 1 and 3. Because that’s what happened.”); Second

Supplemental Affidavit of Alan J. Jackson ¶ 4 (R. 323) (“Juror E explained that the

jury was ‘unanimous on 1 and 3’ that Karen Read was NOT GUILTY of those

charges.”). As noted above, the trial court accepted the foregoing averments as

true facts. See Order at 9 (R. 396, Add. 61).2

      In rejecting Ms. Read’s claim of acquittal, the court relied solely upon the

lack of an “open and public verdict affirmed in open court.” Order at 10 (R. 397,

Add. 62). This reasoning is rooted in a formalism that has been consistently

rejected by the United States Supreme Court and this Court in a string of

precedents spanning more than one hundred years. See supra page 22 (citing

cases); Ball v. United States, 163 U.S. 662, 671 (1896) (“However it may be in


2
 Just days ago, an article was published online reflecting an interview with an
anonymous juror quoted as saying, “It was very clear on charge 1 and 3. Murder
was decided on day one. She did not have an intent to murder.” Aidan Kearney,
Canton Coverup Part 397: Karen Read Juror Says They Switched on
Manslaughter Verdict, Confirms Murder Acquittal, Says Jurors Couldn’t Ask
Judge Cannone Questions About 2 Verdicts (Sept. 6, 2024), available at
https://tbdailynews.com/canton-coverup-part-397-karen-read-juror-says-they-
switched-on-manslaughter-verdict-confirms-murder-acquittal-says-jurors-couldnt-
ask-judge-cannone-question-about-2-verdicts/.
                                         23
     Case 1:25-cv-10399-FDS        Document 2-3     Filed 02/18/25    Page 24 of 77




England, in this country a verdict of acquittal, although not followed by any

judgment, is a bar to a subsequent prosecution for the same offense.”); Hudson v.

Louisiana, 450 U.S. 40, 41 & n.1 (1981) (holding that judicial grant of new trial

prohibited retrial on Double Jeopardy grounds, notwithstanding that the state

“Code of Criminal Procedure d[id] not authorize trial judges to enter judgments of

acquittal in jury trials”).

         Indeed, under the trial court’s reasoning, affidavits executed by all 12 jurors

attesting to a final, unanimous decision to acquit would not be sufficient to mount a

successful Double Jeopardy challenge. Surely, that cannot be the law. Indeed, it

must not be the law. And, in the context of this highly publicized case, it strains

credulity to suggest that, if the unequivocal statements of five jurors quoted above

did not, in fact, represent the unanimous view of all 12, the remaining jurors would

allow the inaccuracy to go uncorrected. Instead, they would predictably have

notified the Commonwealth or the court of their own recollection. Here, to the

contrary, the Commonwealth has received the exact same information as the

defense regarding the jury’s unanimous agreement to acquit Ms. Read on Counts 1

and 3.

         The United States Supreme Court’s decision in Blueford is not to the

contrary, as it is factually distinguishable from the instant case. There, the

foreperson had reported during deliberations that the jury “was unanimous against”


                                            24
     Case 1:25-cv-10399-FDS       Document 2-3     Filed 02/18/25    Page 25 of 77




the charges of capital murder and first-degree murder but split on manslaughter.

566 U.S. at 603-04. The court sent the jury back to continue deliberations and,

when the jury remained unable to reach a verdict, declared a mistrial. See id. at

604. The Supreme Court rejected the defendant’s argument that the Double

Jeopardy Clause prohibited re-prosecution for capital and first-degree murder. In

doing so, the Court relied heavily upon the lack of finality of the juror’s report.

“[T]he jury’s deliberations had not yet concluded,” and it “went back to the jury

room to deliberate further.” Id. at 606. “The foreperson’s report was not a final

resolution of anything,” and there was no indication at the conclusion of

deliberations that “it was still the case that all 12 jurors believed [the defendant]

was not guilty of capital or first-degree murder.” Id. Here, by contrast, the jurors’

statements reflect a final and indelible determination that persisted through the end

of deliberations and following.

      The contrast with A Juvenile v. Commonwealth, 392 Mass. 52 (1984), is

even clearer. In that case, after the conclusion of trial, a court officer found four

verdict slips in the deliberation room, two of which reflected entries of “not

guilty.” There was no indication as to when the entries were made or in what

circumstances, much less that they reflected a final, unanimous conclusion of all

jurors.




                                           25
     Case 1:25-cv-10399-FDS      Document 2-3     Filed 02/18/25   Page 26 of 77




      Neither the Commonwealth nor the trial court has cited any case in which a

defendant was forced to stand trial a second time for an offense a previous jury had

found her not guilty of simply because such final, unanimous agreement was not

announced in open court. See Aug. 9, 2024 Tr. at 18 (R. 349) (arguing that

Commonwealth had not cited “a single case with facts like this [that] have been

ignored. Not a single precedent have they raised, nationwide, State Courts, murder

cases, 50 States, [f]ederal, where there’s been this kind of demonstration that we

were silent when we shouldn’t be, but she was acquitted”).3 The instant case

squarely presents that issue, and the defense respectfully submits that this Court

should hold that any lack of formality does not supersede the defendant’s

fundamental constitutional protections. This issue is one of existential

importance—not merely to Ms. Read, but to the very foundation of the

constitutional safeguards that protect her.



3
 Other cases cited by the trial court on this issue did not involve Double Jeopardy
challenges at all. See Commonwealth v. Zekirias, 443 Mass. 27, 31-34 (2004);
Commonwealth v. Floyd P., 415 Mass. 826, 830-32 (1993). Instead, these cases
both vacated convictions where courts responded to ambiguous communications
by jurors in such a way as to improperly influence the return of guilty verdicts.
Given the gravity of criminal conviction, it makes sense to insist on observance of
procedural formalities before taking away a defendant’s liberty. However, in light
of the fundamental constitutional prohibition on Double Jeopardy, refusing to give
effect to a verdict of acquittal due to its lack of formality is another matter
altogether for which neither the Commonwealth nor the trial court has cited any
precedent. Additionally, unlike in Zekirias and Floyd P., there is nothing
ambiguous or tentative about the post-trial evidence of verdicts here.
                                          26
      Case 1:25-cv-10399-FDS      Document 2-3      Filed 02/18/25   Page 27 of 77




II.    Alternatively, the Defense Is Entitled to a Post-Verdict Judicial Inquiry
       to Determine Whether the Evidence Supports the Juror
       Representations as to Having Acquitted Ms. Read

       The trial court was wrong to artificially limit the right to a post-trial inquiry

to develop a substantial claim of a constitutional violation to the narrow context of

claims implicating “racial bias” or the “right to receive an impartial trial.” Order at

20 (R. 407, Add. 72). This Court has not framed the availability of post-trial

inquiry so narrowly, instead stating, “we will permit juror testimony regarding

‘overt factors . . . by which the verdict’s validity can be objectively assessed,’ such

as extraneous influences on the jury, but not regarding ‘the subjective mental

processes of jurors, such as the reasons for their decisions.’” Commonwealth v.

McCowen, 458 Mass. 461, 494 n.35 (2010) (quoting Commonwealth v. Fidler, 377

Mass. 192, 198 (1979), overruled on other grounds by Commonwealth v. Moore,

474 Mass. 541 (2016)).

       In Fidler, this Court rejected “[t]he Commonwealth’s suggestion of an

inflexible rule excluding all juror testimony offered to impeach verdicts” as

“achiev[ing] stability at the expense of doing justice between the parties . . . .” 377

Mass. at 197. Instead, the Court ruled, where the defendant’s claim is predicated

upon the presence of “overt factors,” “the law’s commitment to a just result

warrants receiving evidence . . . . But where the juror would testify solely to

matters resting in his own consciousness, the dubious value of the testimony is


                                           27
     Case 1:25-cv-10399-FDS       Document 2-3     Filed 02/18/25    Page 28 of 77




outweighed by the need for stability in verdicts.” Id. at 198 (citation omitted).

Fidler expressly “recognize[d] that the line between overt factors and matters

resting in a juror’s consciousness is not easily drawn, and difficult cases will

arise.” Id. But it went on to observe, “we think it possible to draw the line in most

cases, and, in any event, the better course is to try to do so rather than refuse to

try.” Id.

      The law is clear that, in the context of “juror bias,” an affidavit by counsel is

sufficient to entitle the defendant to a “post-verdict inquiry” on the issue.

Commonwealth v. McCalop, 485 Mass. 790, 798 (2020) (citation omitted). If “the

credibility of the affidavit is in issue, the trial judge should conduct a hearing to

determine the truth or falsity of the affidavit’s allegations.” Id. at 799 (citation

omitted). In so holding, this Court stated, “where a defendant submits a motion

raising the possibility that [s]he did not receive a trial by an impartial jury, which

was h[er] fundamental right, [it] cannot be ignored.” Id. (citation omitted).

      No less than the right to an unbiased jury, it is “a fundamental tenet of our

system of justice” that a defendant may not be retried for a crime of which she was

previously acquitted by a jury, and the defense submits that post-verdict inquiry is

equally warranted in the present context. Id. Other than generally noting that the

present case does not involve an allegation of juror bias, the trial court did nothing




                                           28
     Case 1:25-cv-10399-FDS       Document 2-3     Filed 02/18/25    Page 29 of 77




to distinguish the legal basis and justifications in McCalop from those raised herein

by the defendant.

      The defense respectfully submits that the Court should hold that the presence

of an unannounced verdict, supported by the unambiguous post-trial statements of

five deliberating jurors, constitutes an “overt factor” at least entitling the defense to

further inquiry. Fidler, 377 Mass. at 198; cf. Mass. Guide Evid. 606(b) (“During

an inquiry into the validity of a verdict, the court may ask the jurors individually to

affirm publicly that the verdict as recorded represents their decision.”), 606(c)(5)

(permitting juror testimony that “a mistake was made in entering the verdict on the

verdict form”). Given the foundational importance of jury acquittals in our justice

system, this is a circumstance in which “the law’s commitment to a just result

warrants receiving evidence.” Fidler, 377 Mass. at 198 (citation omitted).

      Recently, in United States v. Tsarnaev, 96 F.4th 441, 449 (1st Cir. 2024), the

First Circuit Court of Appeals remanded the matter for further proceedings in the

Boston Marathon bombing case due to two jurors’ postings on social media

“regarding the bombings and the district court proceedings,” which came to light

after the jurors had been provisionally selected to serve. Id. at 449. The comments

did not reflect racial bias in any way, but rather possible bias specific to the

defendant. See id. at 454, 461. The comments were also inconsistent with the

jurors’ assurances that they had not discussed the case online. See id. at 455, 461.


                                           29
     Case 1:25-cv-10399-FDS       Document 2-3      Filed 02/18/25   Page 30 of 77




The First Circuit held that the district court erred by failing to inquire about these

issues with the jurors. See id. at 458, 462. Given that “[t]he right to an impartial

jury is a constitutional bedrock[,] . . . when there is a plausible claim that a

prospective juror lied in a manner that may reveal bias, a court need conduct some

inquiry reasonably calculated to determine whether the prospective juror did lie

and, if so, why.” Id. at 458 (citation omitted).

      Crucially for present purposes, the First Circuit ordered the district court to

voir dire the jurors. In doing so, the court acknowledged, “[n]o doubt any juror

would have strong incentives to avoid admitting having committed perjury during

voir dire. We also expect that most jurors, having taken time out of their daily

lives to receive evidence at trial, deliberate with other jurors, and reach a verdict

that they believe is just, would prefer not to have that verdict disturbed – especially

as a result of their own actions. . . . [W]e have no doubt that the able district court

judge can do what judges regularly do – form a considered opinion about the

sufficiency of the jurors’ explanations once those explanations are given and

explored.” Id. at 464. Likewise, the experienced trial court in the matter sub

judice can, after conducting an appropriate judicial inquiry, make findings as to

whether in fact Ms. Read was acquitted.

      In another high-profile case, the South Carolina Supreme Court recently

agreed to hear claims by Alex Murdaugh that, during his murder trial, the clerk of


                                           30
     Case 1:25-cv-10399-FDS       Document 2-3      Filed 02/18/25    Page 31 of 77




court improperly influenced deliberating jurors. See State v. Murdaugh, No. 2023-

000392 (S.C. Aug. 13, 2024) (R. 43). Jurors came forward after the clerk

published a book about the trial describing her “efforts to obtain” a “guilty verdict

through improper jury tampering.” Brief of Appellant at 2 (R. 53). The clerk

allegedly told jurors after the defense began its case “not to let the defense ‘throw

you all off,’ or ‘distract you or mislead you,’” and warned them “‘not to be fooled’

by Mr. Murdaugh’s testimony in his own defense.” Id. The trial court held an

evidentiary hearing on the motion for new trial, including testimony by jurors. See

id. at 4-8 (R. 55-59). As in Tsarnaev, the issue was not racial bias, but nonetheless

implicated fundamental constitutional rights like Ms. Read’s right not to be retried

for offenses of which she has already been acquitted.

      The trial judge dismissed Ms. Read’s reliance upon Tsarnaev and Murdaugh

in a brief footnote, simply stating that the circumstances “are readily

distinguishable” from those at issue here. Order at 21 n.11 (R. 408, Add. 73). But

this misses the forest for the trees. While it is certainly true that all three cases

raise different issues, the fundamental point remains the same: a defendant who

comes forward with credible evidence of a serious constitutional violation post-

trial must be entitled to an opportunity to prove those claims. There is no apparent




                                           31
     Case 1:25-cv-10399-FDS       Document 2-3      Filed 02/18/25    Page 32 of 77




reason to artificially limit the availability of such constitutional inquiry to the

singular context of racial bias, as the trial court suggested.4

      The defense request does not, in any manner, infringe upon “the substance

of the jury’s deliberations.” Order at 20 (R. 407, Add. 72). To the contrary, the

motion to dismiss was predicated solely upon the result of such deliberations,

namely a unanimous decision that Ms. Read is not guilty of murder in the second

degree. The relevant inquiry could be accomplished by a single “yes” or “no”

question posed to jurors: did you unanimously acquit Karen Read of the charges in

Counts 1 and 3? Of course, the results of a jury’s deliberations are not secret.

They are, in fact, routinely announced in open court. Here, the defense has learned

post-trial that the jury reached a verdict that was not so announced. It was at least


4
  This Court has permitted post-verdict inquiry of jurors consistent with the
Tsarnaev and Murdaugh examples. See Commonwealth v. Guisti, 434 Mass. 245,
249-50 (2001) (juror “posted a message on an internet mail service” “stating that
she was ‘stuck in a 7 day-long Jury Duty rape/assault case . . . . Just say he’s guilty
and lets [sic] get on with our lives!” and it was unclear to what extent juror
received responses); Commonwealth v. Dixon, 395 Mass. 149, 150 (1985)
(attorney affidavit reflecting juror statement that “a female juror’s husband had
conversations with some of the witnesses in this case during the course of the trial
and these conversations were made known to said female juror”); Fidler, 377
Mass. at 199 (juror affidavit “alleged that one juror stated [the defendant] had been
shot at in Charlestown a month earlier,” which had not been mentioned in court);
see also Remmer v. United States, 347 U.S. 227, 228 (1954) (“After the jury had
returned its verdict, the petitioner learned for the first time that during the trial a
person unnamed had communicated with a certain juror, who afterwards became
the jury foreman, and remarked to him that he could profit by bringing in a verdict
favorable to the petitioner. . . . As a result, the Federal Bureau of Investigation was
requested to make an investigation and report . . . .”).
                                           32
     Case 1:25-cv-10399-FDS         Document 2-3     Filed 02/18/25    Page 33 of 77




entitled to the opportunity to substantiate that fact in order to ensure Ms. Read is

not unconstitutionally forced to stand trial for criminal offenses of which she has

already been acquitted. Such inquiry in no way intrudes on the deliberative

process of the jury. Such an inquiry instead honors the jury service which the trial

court described as “extraordinary” rather than disregarding the efforts of five jurors

to disclose that there was not an “impasse” on all three as contrasted to only one

count.

         Indeed, it was the trial court, not the defense, that injected issues regarding

jury deliberations into the inquiry. It is simply not true that, “given the content of

the jury’s final note to the Court, . . . [a]ny inquiry would necessarily require the

Court to understand why the jury’s final note communicated a deadlock on charges

when post-trial, certain deliberating jurors are purportedly stating that the jury was,

in fact, unanimous on most of the charges.” Order at 20 (R. 407, Add. 72). As

explained infra pages 45-46, in light of the trial court’s instructions repeatedly

characterizing the lesser included offenses within Count 2 as discrete “charges,”

the jury’s note is readily susceptible to interpretation consistent with the post-trial

evidence supporting the defense motion.5 In any event, if the jurors state that they


5
 This distinguishes the case from A Juvenile, where the jury foreman had
expressly indicated “that the jurors were deadlocked on the complaint which
charged murder,” and the jurors subsequently reaffirmed that fact in open court.
392 Mass. at 53. In these circumstances, a post-trial subpoena to the foreman

                                             33
       Case 1:25-cv-10399-FDS      Document 2-3      Filed 02/18/25    Page 34 of 77




acquitted Ms. Read, no further inquiry regarding the contents of the jury note could

possibly remove the clear constitutional implications of such acquittal.6

III.    Re-Prosecution Is Independently Barred Because There Was No
        Manifest Necessity to Declare a Mistrial on Counts on which the Jury
        Was Not Deadlocked

        Absent the defendant’s consent, “State and Federal double jeopardy

protections bar, ‘as a general rule,’ retrial of a defendant whose initial trial ends . . .

without a conviction.” Ray v. Commonwealth, 463 Mass. 1, 3 (2012) (quoting

Washington, 434 U.S. at 505). This rule is rooted in “the importance to the

defendant of being able, once and for all, to conclude h[er] confrontation with

society through the verdict of a tribunal [s]he might believe to be favorably



regarding verdict slips recovered from the deliberation room after trial regarding
that very count “could only be aimed” at impermissible “impeachment, months
after the fact, of the jury’s report to the judge in open court.” Id. at 57. Here, by
contrast, no statement or inquiry was made regarding whether the impasse related
to any specific count. Cf. also Fuentes v. Commonwealth, 448 Mass. 1017, 1018
(2007) (jury note expressly “stated that the jury could not reach a unanimous
verdict as to either” of the two indictments). Moreover, as discussed supra page
25, the unsubmitted verdict forms recovered in A Juvenile were far less clear than
the post-trial evidence at issue here in establishing a final, unanimous acquittal.
Accordingly, the instant case involves stronger “overt factors” warranting inquiry.
6
  In Commonwealth v. DiBenedetto, 94 Mass. App. Ct. 682, 688 (2019), the
defense argument that the jury’s verdict (which had just been announced in open
court) was not, in fact, unanimous depended upon “juror testimony concerning
internal deliberations,” namely “that they misunderstood the unanimity
instruction.” DiBenedetto also preceded this Court’s opinion in McCalop, and
therefore must be disregarded to the extent the Court perceives an inconsistency
between the two.
                                            34
     Case 1:25-cv-10399-FDS      Document 2-3     Filed 02/18/25    Page 35 of 77




disposed to h[er] fate.” Cruz v. Commonwealth, 461 Mass. 664, 670 n.9 (2012)

(quoting United States v. Jorn, 400 U.S. 470, 486 (1971) (plurality opinion)); see

also Taylor, 486 Mass. at 483 (“[T]he [d]ouble [j]eopardy [c]lause affords a

criminal defendant a ‘valued right to have h[er] trial completed by a particular

tribunal.’” (quoting Oregon v. Kennedy, 456 U.S. 667, 671-72 (1982)). “Thus,

where a mistrial is entered ‘without the defendant’s request or consent,’ retrial is

impermissible unless there was a manifest necessity for the mistrial.” Id. (quoting

United States v. Dinitz, 424 U.S. 600, 606-07 (1976)).

      Importantly, the “heavy” burden of establishing “manifest necessity” to

justify a mistrial is exclusively on the Commonwealth. Commonwealth v. Nicoll,

452 Mass. 816, 818 (2008) (quoting Washington, 434 U.S. at 505); see also

Steward, 396 Mass. at 79. And this burden remains solely upon the

Commonwealth regardless of whether or not a defendant objects to the declaration

of a mistrial. See Nicoll, 452 Mass. at 818; Commonwealth v. Horrigan, 41 Mass.

App. Ct. 337, 340 (1996). Before a court declares a mistrial for manifest necessity,

“(1) counsel must [have been] given full opportunity to be heard and (2) the trial

judge must [have given] careful consideration to alternatives to a mistrial.” Taylor,

486 Mass. at 484 (citation omitted).

      Here, the defense respectfully submits that the lack of opportunity to be

heard, alone, is dispositive. Upon receiving the final jury note, the court declared a


                                          35
     Case 1:25-cv-10399-FDS       Document 2-3     Filed 02/18/25    Page 36 of 77




mistrial and excused the jury without consulting counsel. This action “was sudden,

brief, and unexpected, neither preceded nor accompanied by discussion with

counsel.” Horrigan, 41 Mass. App. Ct. at 341; see also Picard v. Commonwealth,

400 Mass. 115, 118-19 (1987) (finding no manifest necessity where “[n]o

opportunity was given counsel to argue the propriety of the question or of the

necessity of a mistrial”); Steward, 396 Mass. at 79 (finding no manifest necessity

where “the trial judge . . . first ruled that he was going to declare a mistrial and

then, almost as an afterthought, unenthusiastically asked whether counsel

objected”). The defense was provided no opportunity to object to the declaration

of a mistrial, or to advise the court of the imperatives of Mass. R. Crim. P. 27(b),

request that the jury be polled, or discuss the issue with Ms. Read.

      The defense respectfully submits that, given the importance of Double

Jeopardy protections and the profound implications of a retrial for a criminal

defendant, an opportunity to be heard must, in order to be meaningful, occur after a

reasonable opportunity for counsel to consult with their client. See Aug. 9, 2024

Tr. at 24 (R. 355) (arguing that counsel had “no opportunity . . . to speak to Ms.

Read, after all, it’s her rights, not theirs”). Counsel for Ms. Read clearly had no

such opportunity here. Whether or not the trial court was obligated to obtain Ms.

Read’s personal consent, see infra IV, its failure to at least ensure that counsel had




                                           36
     Case 1:25-cv-10399-FDS       Document 2-3     Filed 02/18/25    Page 37 of 77




an opportunity to consult with Ms. Read on the issue undermines the existence of

manifest necessity.

      The record is independently lacking on the second prong, as it reflects no

“careful consideration” of “alternatives to a mistrial.” Taylor, 486 Mass. at 484

(citation omitted). Here, there was one obvious alternative: to simply ask the jury

to specify the charge(s) on which it was deadlocked. This option is apparent from

the face of Mass. R. Crim. P. 27(b) which states that “[t]he judge may declare a

mistrial as to any charges upon which the jury cannot agree upon a verdict;

provided, however, that the judge may first require the jury to return verdicts on

those charges upon which the jury can agree and direct that such verdicts be

received and recorded.” (Emphasis added). In fact, the reporter’s notes expressly

indicate that such reception of partial verdicts is required before a mistrial may be

declared for manifest necessity. See Mass. R. Crim. P. 27, reporter’s notes (“This

rule also provides that the court may declare a mistrial in cases where the jury is

unable to reach a verdict. However, it must first receive and record the verdicts

which the jury can agree upon.” (Emphasis added)). Had the court inquired as to

the existence of any partial verdicts, and the jury articulated its verdict consistent

with the statements of Juror A, Juror B, Juror C, Juror D, and Juror E, the Double

Jeopardy implications would have been clear and decisive. “[I]ndeed, with virtual

unanimity, the cases have applied collateral estoppel to bar the Government from


                                           37
     Case 1:25-cv-10399-FDS      Document 2-3     Filed 02/18/25   Page 38 of 77




relitigating a question of fact that was determined in defendant’s favor by a partial

verdict.” United States v. Mespoulede, 597 F.2d 329, 336 (2d Cir. 1979); see also

Wallace v. Havener, 552 F.2d 721, 724 (6th Cir. 1977) (“When the jury hands

down a partial verdict, a final judgment is rendered on the counts upon which the

jury has reached agreement.”).

      In denying the motion to dismiss, the trial court erred by relying primarily

upon the lack of objection by defense counsel. In doing so, it utterly neglected to

acknowledge the clear and longstanding case law placing the burden of

establishing manifest necessity squarely on the prosecution. Nicoll provides a

helpful analogue.

      The defendant in Nicoll was charged with operating a vehicle under the

influence of alcohol. Only six jurors were empaneled and, after trial began, one

juror recognized a witness “and informed the trial judge that he might not be able

to be impartial.” 452 Mass. at 817. The judge excused the juror. “Left with five

jurors, the judge and attorneys briefly discussed how to proceed. Defense counsel

expressed his frustration over the empanelment of only six jurors and then stated,

‘I don’t think we can go forward with five jurors, can we?’ The judge responded,

‘Not in a criminal case. . . . Okay, I’m going to declare a mistrial.’” Id. After a

retrial was scheduled, the defendant moved to dismiss on Double Jeopardy

grounds. The trial judge allowed the motion finding “that contrary to his initial


                                         38
     Case 1:25-cv-10399-FDS       Document 2-3     Filed 02/18/25    Page 39 of 77




understanding, Massachusetts procedural rules would have allowed the trial to

continue with five jurors (albeit with [defendant’s] consent).” Id. The judge

therefore found that he “had failed to give careful consideration to the alternative

of proceeding with the trial before less than a full jury,” and, accordingly, “there

had been no ‘manifest necessity’ for the mistrial.” Id. (internal quotation marks

omitted).

      On appeal, this Court began from the premise that, “[d]ue to the importance

of the double jeopardy protection, the Commonwealth bears the ‘heavy’ burden of

proving that a mistrial rested on manifest necessity.” Id. at 818 (quoting

Washington, 434 U.S. at 505). The Court then agreed with the trial judge that the

defendant could waive his right to a trial by a jury of at least six. See id. at 821. It

rejected the Commonwealth’s argument that the defendant in the case at hand had

not provided such a waiver observing, “the question is not whether [defendant]

executed a valid waiver, but whether there was a ‘manifest necessity’ for declaring

a mistrial. Such necessity would have presented itself if [defendant] had declined

to execute a waiver, but the record is clear that neither the judge nor counsel was

aware of or even considered the option.” Id. at 821-22. “In these circumstances,

the Commonwealth [wa]s unable to satisfy its heavy burden of proving that there

was a ‘manifest necessity’ for declaring a mistrial.” Id. at 822 (emphasis added).




                                           39
     Case 1:25-cv-10399-FDS      Document 2-3      Filed 02/18/25   Page 40 of 77




      The defense respectfully submits that the same result is required here. It is

the prosecution’s burden alone to ensure that the declaration of a mistrial is

supported by manifest necessity. Even where, unlike in the present case, defense

counsel was expressly offered the opportunity to be heard on how to proceed, and

explicitly shared the judge’s mistaken view that the trial could not continue with

fewer than six jurors, this Court held that the alternative to declaring a mistrial was

not adequately considered. Here, there is no doubt that the Court was permitted to

accept a partial verdict. See, e.g., Mass. R. Crim. P. 27(b). But the record simply

reflects no consideration of that option. Accordingly, as in Nicoll, the charges in

this matter must be dismissed.

      Neither Ms. Read nor her counsel consented to the declaration of a mistrial.

Consent may be implied “where a defendant had the opportunity to object but

failed to do so.” Pellegrine v. Commonwealth, 446 Mass. 1004, 1005 (2006)

(citation omitted). But the law is clear that such consent may not be inferred from

counsel’s silence alone. See Commonwealth v. Edwards, 491 Mass. 1, 13 (2022)

(rejecting argument “that the defendant consented to the declaration of a mistrial

because he did not object when the judge ordered the case dismissed”);

Commonwealth v. Phetsaya, 40 Mass. App. Ct. 293, 297-98 (1996) (holding that,

where “the trial judge did not ask defense counsel to comment on the possible

declaration of a mistrial,” “the lack of an objection from defense counsel cannot be


                                          40
     Case 1:25-cv-10399-FDS       Document 2-3     Filed 02/18/25   Page 41 of 77




construed as consent” to such action). Here, no such consent was sought, nor was

it given.

       The trial court’s ruling that Ms. Read’s counsel impliedly consented to the

mistrial was based primarily upon counsel’s requests for a Tuey-Rodriguez

instruction. Of course, whether the jury has engaged in “due and thorough

deliberation” to support a Tuey-Rodriguez instruction and whether there is manifest

necessity to declare a mistrial are distinct legal questions. In fact, the Tuey-

Rodriguez charge is “designed to urge the jury to reach a verdict,” not to avoid one.

Commonwealth v. Semedo, 456 Mass. 1, 20 (2010). Unsurprisingly, neither the

Commonwealth nor the trial court cited any case finding a defendant’s consent to a

mistrial can be based on a prior request for a Tuey-Rodriguez charge.7 Here,

defense counsel’s requests did not reflect any implicit concession that the jury was

deadlocked on all counts, nor did they commit the defense to any position

regarding whether the court should sua sponte declare a mistrial. It is true that, if



7
  In Ray, 463 Mass. at 2-3, after the jury reported a deadlock, “the judge indicated
that he was inclined to declare a mistrial.” The parties responded by “request[ing]
that the court give the jury a Tuey-Rodriguez instruction” as an alternative. Id. at
3. The judge “declined to give this instruction and declared a mistrial over the
defendant’s objection.” Id. In these circumstances, where the request for a Tuey-
Rodriguez charge came in response to a judge’s statement of intent to declare a
mistrial, it was a fair “inference that both parties were provided an opportunity to
be heard on possible alternatives to a mistrial.” Id. at 4. In the present case, by
contrast, the Tuey-Rodriguez instruction was requested before any suggestion of a
mistrial, not as a possible alternative thereto.
                                          41
     Case 1:25-cv-10399-FDS      Document 2-3      Filed 02/18/25   Page 42 of 77




the jury reports an impasse after a Tuey-Rodriguez instruction, they “shall not be

sent out again without their own consent.” G.L. c. 234A, § 68C. That fact,

however, does nothing to undermine the alternative of simply inquiring, pursuant

to Mass. R. Crim. P. 27(b), whether the jury had reached any partial verdict.

Doing so would not require the jury to be “sent out again.” The trial court was in

error in equating a request for a Tuey-Rodriguez charge with any acceptance of or

acquiescence to a mistrial.

      Moreover, the trial court’s characterization of the jury’s final note as

“making it clear that [the jurors] would not consent to continuing their

deliberations,” is belied by case law cited in the court’s Order. Order at 13 (R.

400, Add. 65). In Commonwealth v. Jenkins, 416 Mass. 736, 739 (1994), the jury

similarly reported, after a Tuey charge, “that they felt strongly that there was no

hope of progress and requested further instructions.” The court responded by

telling the jury, “I cannot force you to continue deliberations unless you agree to

continue deliberations,” but then asking them “to retire and decide whether further

deliberations on the next day would be fruitful.” Id. The jury “promptly reached a

verdict.” Id. at 740. This Court held that “[t]he object of” the statutory prohibition

on sending the jury back out without consent “was fulfilled because the jury

consented to continue their work. . . . [T]he jury’s return of a verdict after sending

their last note implicitly satisfied the statutory requirement of jury consent.” Id.


                                          42
     Case 1:25-cv-10399-FDS       Document 2-3     Filed 02/18/25    Page 43 of 77




Thus, another alternative to a mistrial (which the trial court did not consider) in this

case would have been to (a) inform the jury that it could not be required to

continue deliberations without its consent and (b) ask it to retire to consider

whether it was prepared to return any partial verdict.

      Here, neither Ms. Read nor her counsel were provided an opportunity to

object to the declaration of a mistrial (as opposed to the appropriateness of a Tuey-

Rodriguez instruction). All of the cases cited by the trial court on this issue are

readily distinguishable on that basis. For example, in Pellegrine, a witness

testified at trial to incriminating evidence that had not been disclosed to the

defense. This Court held that the defense had an opportunity to object given that

“[t]he mistrial was declared after a voir dire [of the witness] and colloquy after the

jury were cleared from the court room.” 446 Mass. at 1005. Here, by contrast, the

defense did not learn of the contents of the jury note, or the court’s intention to

declare a mistrial, until the judge called the jury in and stated the declaration of

mistrial on the record. Counsel was never shown the note from the jury. The

judge indisputably never informed counsel of its intent to declare a mistrial, much

less solicited counsel’s views on the matter. Compare United States v. McIntosh,

380 F.3d 548, 555 (1st Cir. 2004) (ruling, in case where “defense counsel at one

point implored the district court to declare a mistrial because the jury was

deadlocked,” “[i]t would be Kafkaesque–and wrong– . . . to allow parties freely to


                                          43
     Case 1:25-cv-10399-FDS        Document 2-3       Filed 02/18/25   Page 44 of 77




advocate on appeal positions diametrically opposite to the positions taken by those

parties in the trial court”); United States v. You, 382 F.3d 958, 962 (9th Cir. 2004)

(after co-defendant moved for mistrial, the “court subsequently stated that it was

going to declare [one]” and “asked the attorneys if either wished ‘to make any

record?’”); United States v. Goldstein, 479 F.2d 1061, 1067 (2d Cir. 1973)

(“Defendants had moved for a mistrial a scant two hours before one was declared,

at the first suggestion of jury deadlock . . . .”).

       As the Appeals Court has explained in an analogous factual context, the

suggestion that counsel could or should have immediately objected to the sua

sponte declaration of a mistrial “underestimates or ignores the difficulty of

reaching a decision (in which the defendant has an evident personal stake) whether

the defense would be advantaged or the opposite by a second trial: the possibilities

ahead (such as the appearance of a new prosecution witness) cannot be instantly

calculated. Therefore, to equate silence with ‘consent’ when the occasion comes

abruptly and unexpectedly seems quite unwise.” Horrigan, 41 Mass. App. Ct. at

342 (emphasis added).

       The trial court’s suggestion that defense counsel had an opportunity to object

to the declaration of a mistrial after it had occurred and the jury had been

discharged is mistaken. The judge expressly told jurors, “Your service is

complete. I am declaring a mistrial in this case.” July 1, 2024 Tr. at 11 (R. 268).


                                            44
     Case 1:25-cv-10399-FDS       Document 2-3     Filed 02/18/25    Page 45 of 77




      Given counsel’s lack of an opportunity to be heard and the court’s lack of

consideration of alternatives, the defense respectfully submits that the prosecution

has not satisfied its high burden of establishing manifest necessity for the mistrial.

While the trial court correctly observed that jury deadlock may be grounds for a

mistrial, see, e.g., Ray, 463 Mass. at 3, it cited no precedent for the counter-

intuitive proposition that a deadlock with respect to some but not all counts

constitutes manifest necessity for the declaration of a mistrial as to all. Compare

Fuentes v. Commonwealth, 448 Mass. 1017, 1018 (2007) (affirming declaration of

mistrial where note expressly “stated that the jury could not reach a unanimous

verdict as to either” of the two indictments). This lack of precedential support is

no accident: such a rule would run counter to the important interests underlying the

constitutional safeguards against Double Jeopardy.

      Contrary to the trial court’s suggestion, there was nothing in the jury’s notes

that “directly contradict[ed]” the post-trial affidavits by counsel. Order at 9 n.4 (R.

396, Add. 61). As an initial matter, there is a facial tension between this

observation by the court and its stated acceptance of the affidavits as true for

purposes of the motion to dismiss. And the jury’s reference to “charges” is easily

reconciled with the post-trial affidavits affirming that the only deadlock related to

the lesser included offenses of Count 2. Indeed, the court repeatedly referred to

those lesser included offenses as distinct “charge[s],” both in its initial and


                                          45
     Case 1:25-cv-10399-FDS      Document 2-3     Filed 02/18/25    Page 46 of 77




supplemental instructions to the jury. See June 25, 2024 Tr. at 35, 38 (R. 179,

182); June 26, 2024 Tr. at 16 (R. 223). In this context, the jury’s note was facially

susceptible to two alternative interpretations: (1) that the jury had reached an

impasse as to all charges, or (2) that the deadlock applied to only some of those

charges (e.g., on multiple lesser included allegations within a single count such as

Count 2). The information received from jurors post-trial proves the latter

interpretation was correct. The jury’s failure to expressly mention its agreement on

Counts 1 and 3 is understandable in light of the court’s instruction that it “should

continue deliberating until” it had “reached a final verdict on each charge.” June

25, 2024 Tr. 46 (R. 190).

      This Court’s holding, in Commonwealth v. Roth, 437 Mass. 777 (2002), that

courts should not request partial verdicts on lesser included offenses charged in a

single count does not pertain here. Roth was rooted in the belief that “[i]nquiry

concerning partial verdicts on lesser included offenses” that have not been

separately charged “carries a significant potential for coercion.” Id. at 791; see

also Blueford, 566 U.S. at 609-10 (declining to require court “to consider giving

the jury new options for a verdict” in the form of partial verdicts on lesser included

offenses where, “under Arkansas law, the jury’s options . . . were limited to two:

either convict on one of the offenses, or acquit on all”). Such inquiry, in effect,

implies that the jury should consider conviction on the lesser count. No similar


                                          46
     Case 1:25-cv-10399-FDS      Document 2-3     Filed 02/18/25    Page 47 of 77




danger is present where, as here, the jury was asked to return three separate

verdicts on three separate counts. See Roth, 437 Mass. at 793 n.13 (distinguishing

situation “where a defendant has been charged in separate indictments or

complaints, each with a separate verdict slip”); A Juvenile, 392 Mass. at 55 n.1

(“Where a complaint or indictment, in multiple counts, charges multiple crimes . . .

a general verdict could be returned as to one of the counts, despite deadlock on the

other counts.”). In this circumstance, where the jury reports a deadlock without

specifying the count(s) on which it has reached an impasse, it is a straightforward

(and, the defense contends, constitutionally required) follow-up to ask whether the

deadlock relates to some as opposed to all counts. Contrary to the trial court’s

suggestion, an inquiry regarding whether the jury had reached a partial verdict on

any of the three separately charged counts would not necessitate any forbidden

inquiry on the lesser included offenses contained within Count 2. See Order at 18

(R. 405, Add. 70). There is simply nothing coercive about asking a jury reporting

a deadlock that fails to specify which counts the deadlock relates to the single

question of whether its deadlock is on certain but not all counts and if it has

reached a unanimous verdict on any counts. See Commonwealth v. Foster, 411

Mass. 762, 766 (1992) (affirming trial judge’s taking of partial verdicts on two of

four separate indictments and observing, “[t]o conclude that the jury could have

felt pressure to convert provisional verdicts against the defendant into final ones


                                          47
     Case 1:25-cv-10399-FDS      Document 2-3     Filed 02/18/25    Page 48 of 77




and to abandon all doubts that they may have privately entertained runs counter to

the clear instructions of the judge and amounts to mere speculation without any

support in the record”); Roth, 437 Mass. at 788 (noting, in the context of

deadlocked jury, that “rule 27(b) permits taking verdicts on less than all of the

charges set forth in . . . separate indictments”); Commonwealth v. LaFontaine, 32

Mass. App. Ct. 529, 534-35 (1992) (affirming partial verdicts taken after judge

asked jury whether it had “reached a verdict on any of the indictments”).

      The inflexible prohibition on judicial inquiry regarding partial verdicts

advocated by the Commonwealth would inevitably undermine defendants’

important, and constitutionally protected, interest in “being able, once and for all,

to conclude [their] confrontation[s] with society through the verdict of a tribunal

[they] might believe to be favorably disposed to [their] fate.” Cruz, 461 Mass. at

670 n.9 (quoting Jorn, 400 U.S. at 486 (plurality opinion)). And “[t]he danger of .

. . unfairness to the defendant” from multiple prosecutions “exists when[] a trial is

aborted before it is completed,” as well as when the defendant is actually acquitted.

Washington, 434 U.S. at 504. The Commonwealth’s proposed rule would also

undoubtedly hinder law enforcement interests by precluding courts from asking

whether a jury may have reached a guilty verdict on some but not all stand alone

counts.




                                          48
       Case 1:25-cv-10399-FDS      Document 2-3     Filed 02/18/25    Page 49 of 77




        It is uncontroverted that, according to the jury of her peers, following trial

Ms. Read was unanimously found not guilty of Counts 1 and 3. That undisputed

fact must not be lost in this analysis. It bears repeating that “[a]t the heart of this

policy [against Double Jeopardy] is the concern that permitting the sovereign

freely to subject the citizen to a second trial for the same offense would arm

Government with a potent instrument of oppression.” Martin Linen, 430 U.S. at

569.

IV.      Assuming Arguendo this Court Finds that Counsel Consented to the
         Mistrial, the Defendant’s Personal Consent Was Required

        The defense respectfully submits that whether to consent to a mistrial, and

risk the prospect of retrial, should be a decision for the client who must bear the

consequences. Cf. Gonzalez v. United States, 553 U.S. 242, 250-51 (2008)

(“[S]ome basic trial choices,” including the choices “to plead guilty, waive a jury,

testify in . . . her own behalf, or take an appeal,” “are so important that an attorney

must seek the client’s consent in order to waive the right.” (citation omitted));

Commonwealth v. Nolan, 427 Mass. 541, 543 (1998) (holding defendant waived

Double Jeopardy where, “after consultation with counsel, the defendant elected to

accept the offer” of a mistrial). But see Daniels v. Commonwealth, 441 Mass.

1017, 1018 & n.2 (2004).8 The Supreme Court has recently “shift[ed] the balance



8
    The defendant in Daniels does not appear to have briefed the issue.
                                           49
     Case 1:25-cv-10399-FDS      Document 2-3       Filed 02/18/25   Page 50 of 77




of power between counsel and client” regarding fundamental decision-making in

criminal cases. United States v. Hashimi, 110 F.4th 621, 625 (4th Cir. 2024)

(citation omitted); see also id. at 627-29 (citing cases). Assuming arguendo the

Court finds that counsel consented to the mistrial here, the defense contends it

should additionally address whether the decision to forgo a jury verdict is among

the fundamental questions that must be decided by the client, as urged by the

defendant in the court below and in this appeal.9

                                  CONCLUSION

      For the foregoing reasons, Ms. Read respectfully requests that this

Honorable Court reverse the trial court and Order Counts 1 and 3 dismissed.



                                              Respectfully Submitted,
                                              For the Appellant,
                                              Karen Read
                                              By her attorneys,


                                              /s/ Martin G. Weinberg
                                              Martin G. Weinberg, Esq.
                                              BBO #519480
                                              20 Park Plaza, Suite 1000
                                              Boston, MA 02116
                                              (617) 227-3700

9
  Notably, the trial judge did ensure that Ms. Read was personally consulted
regarding less weighty matters. For example, on May 24, 2024, the court called
Ms. Read to sidebar and personally asked her to verbally consent to Attorney
Jackson’s absence on the Tuesday following Memorial Day, and that co-counsel,
Attorney Yannetti, could represent her on that day. See May 24, 2024 Tr. at 3-5.
                                         50
    Case 1:25-cv-10399-FDS   Document 2-3   Filed 02/18/25   Page 51 of 77




                                         owlmgw@att.net

                                         /s/ Michael Pabian
                                         Michael Pabian, Esq.
                                         BBO #684589
                                         20 Park Plaza, Suite 1000
                                         Boston, MA 02116
                                         (617) 227-3700
                                         pabianlaw38@gmail.com

                                         /s/ Alan J. Jackson
                                         Alan J. Jackson, Esq., Pro Hac Vice
                                         Werksman Jackson & Quinn LLP
                                         888 West Sixth Street, Fourth Floor
                                         Los Angeles, CA 90017
                                         (213) 688-0460
                                         ajackson@werksmanjackson.com

                                         /s/ David R. Yannetti
                                         David R. Yannetti, Esq.
                                         BBO #555713
                                         44 School St., Suite 1000A
                                         Boston, MA 02108
                                         (617) 338-6006
                                         law@davidyannetti.com


Dated:     September 24, 2024




                                    51
    Case 1:25-cv-10399-FDS   Document 2-3   Filed 02/18/25   Page 52 of 77




                               ADDENDUM

Table of Contents

      1. Memorandum of decision and order on defendant’s motion to dismiss,
         issued August 23, 2024…………………………………………………53

      2. Fifth Amendment to U.S. Constitution…………………………………74

      3. Sixth Amendment to U.S. Constitution…………………………………74

      4. G.L. c. 234A, § 68C…………………………………………………….74

      5. Mass. R. Crim. P. 27(b)………………………………………………...74

      6. Mass. Guide Evid. 606(b)………………………………………………75

      7. Mass. Guide. Evid. 606(c)(5)…………………………………………..75




                                    52
     Case 1:25-cv-10399-FDS           Document 2-3        Filed 02/18/25          Page 53 of 77




                        % '#'' "" $"##"'

'&&'                                                         "$'$#' ''
                                                                       ' #'
                                                                        
                                                                                                                   
                                                                                                                   
                                      % #'



                                          !'  '
                                                                                                                   
                                                                                                          
                        $''"' '''
                           #"'#'#'"""'

       /e+e?4.jrCj]\&jexMr9>YrQe>Q=x?>>?Ee>4ex-4r?e0?4>je=b 27qM?u
                                                                                                          
                                                                                                                   
jBdr>?rQexO?v?=je>>?Mr??*e>Q=xd?exd4ev^4MOx?rOQ]?jm?r4xQeMe>?rxO?QeH?e=?

jB4]=jOj]*e>Q=~?ex4e>^?4 QeMxO?v=?e?jBm?rvje4]QeZr4e>>?4xO*e>Q=xd?ex 

I]^jQeMxO?>?4xOjBO?r;jJQ?e>+jPe/-??Eje+4e: 1rQ4]jexO?d4xX!@r
                                                                                                                   
                                                                                                                  
;?M4eQf%mrV] 1O?r??r??QMOx??\vjB? Q>?e=?9>e?:^G ?>4vjB>?^Q;?r4xRkev) 
                                                                                                                 
                                                                                                                   
                                                                                                                      

%K?rxO?Yrjrv?mr?vv?>xjxO?&jxO4xxO??r?>?4>]j=\?>Ir4xPWr>xQd? xO?&jrs                         [
                                                                                                                  
>?=]4r?>4dQvV4]
                                                                                                                   
       1O?>?Ee>9xejdj ?vxj>QvdQvvxO?=O8qM?vIrdr>?rQexO?v?=je>>?Mr?? >

^?4 QeMxO?v=?e?jBm?rvje4]QeZr8e>>?5{O4rMQeMxO4xr?xrQ4]j^> Qj]4x?xO?>j;]? 
                                                                                                                    

                                                                                                                        
Y?jm8r>mrjx?=yQjevjBxO?E>?r4]4e>vx4x?=jevxQxxQjev;?=4v3?xO?YrQeD=xr?4=O?>6                       
                                                                                                                        
                                                                                                                        
                                                                                                                        
                                                                                                                        
                                                                                                                        
e9Qdjv>?=QvQjexj4=oQxxO?>AEe>4exjexOjv?=O4rM?v %]x?t4xQ ?]xO?>?Ee>4ex
                                                                                                          



8qM?vxO4x>QvdQvv4^Qvr?oQr?>;?=4v?xO?r?4vejd9QEvxe?=?vvQxxjvmmjrxxO?

>?=]:4xQjejBxO?dQvQ4]QxOr?vm?=xxjxOjv?=O:M?v %K?r=:?L^=jevQ>?r4xQjexOQv'lr|
                                                                                         


=je=^>?vxO4x;?=4v?}?>?Eg>9x4vejx4=oQx|?>jB4e=O4rM?v8e> p?Fev?=jiv?c _
                                                                        
                                                                                  
                                                                                                   
=jev?ex?>xjxO?&jr|v>?=^8r4xQjejB4dQvxrV4^>j;]?Y?jm8q>Qwn]U#`,><Tz?xrS^$
                                                                         
                                                                                 
                                                                                    
                                                                                                                    

xO?>?Ee>4ex 1O?djxQjeQvxO?r?Ir?                                               ("hNa  
                                                                              
                                                                                                       


                                              53
     Case 1:25-cv-10399-FDS                Document 2-3           Filed 02/18/25         Page 54 of 77             
                                                                                                                            

                                                                                                                   
                                                                                                                        
                                                                                                                   

                                                                                                                   
                                                                                                                   
                                                                                                                   
                                                                                                                   
                                                                                          
                                                                                                  
                                                                                                                    

                                                                                                  /
        6k2 kL!  ~[Lc sHLZCk^~{JLe^HLsC~^nk{^k~[LJLTkJCk~{~s^Ce 0kCJJ^~^k~n _
                                                                                                                              
                                                                                                                            
~[LwLL^kJ^ILk~{ ~[L+n s[CJ^k{~sI~LJ~[Lc s~nInk{^JLt~neL{{Ls^kIe JLJnUMl{L{
                                                                                                                   )*
~niF{eC Z[~Ls[`eLnqLsC~^kZ kJLs~[L^kW LkILnQCeIn[ne ^kne k~GiCk{eC Z[~LuCkJ

in~nsL[^IeL[ni^I^JL 8:0e^r nsFJkLZe^ZLkIL                                             # 
                                                                                               a 
        6k-s^JC 2 kL"  C~Cqqsn^iC~Le$17qi ~[Lc sXsLqLs{nk{Lk~Cxo~L~3                      
                                                                                                                             

                                                                                                                            



~[L+n s 0~{~C~LJ%0Cisb~^kZ~n^kXsin nkHL[CeQnQ~[Lc s~[C~JL{q^Ln sL[C|~^
                                                                                                                       




sL^LnQ~[LL^JLkILCkJn sJ^e^ZLk~Ink{^JLsC~^nknQCeeJ^{q ~LJL^JLkIL L[CLHLN
                                                                                                                        
                                                                                                                       
 kCHeL~nsLCI[C kEk^in {LsJ^I~ 9[L+n ssLr L{~LJCsZ iLk~Yni~[L+niinkOBCg~[) 
                                                                                                             
                                                                                                                        

CkJ~[LJLTkJEk~C{~n[L[Ls[LsL[CJHLLkJ LCkJ~[nsn Z[JLe^HLsC~^nkYni~[Lch >                                
                                                                                                                            
                                                                                                             G            
                                                                                                                            
*{{^{~Ck~,^{~s^I~*~nyL4Cee nkHL[CgQnQ~[L+nijnkLCe~[ EsZ LJ~[C~~[Lc s[CKfkn~?
                                                                                              
                                                                                                   
[CJ{ RVI^Lk~~^iL~nJLe^HLsC~LCkJ~[C~~[LsLXsL ^~C{SCs~nnLCse^k~[LJLe^HLsC~^LqvpIL{}
                                                                                              
                                                                                                                                    

                                                                                                                        

~nZ^L~[Lc s~[L      ^k{~sI~^nk G .LCenqn^k~LJn ~~[C~Ce~[n Z[~[Lkn~&P                       '
                                                                                                              
^kJ^IC~LJ~[C~[Lc s[CJkn~L~IniL~nCInkIe {^nk ^~J^Jkn~^kJ^IC~L~[C~Jn^kZ{nDkn~                                
                                                                                              (              
                                                                                                                        
                                                                                                                        
                                                                                                                                         
                                                                                                                                        


qn{{^HeL *~nzL;CmkL~~^ nkHL[CeQnQ~[LJLTkJCk~ J^{CZsLL<J@b~[5s4Cee{                                      




I[CsCI~Ls^C~^nknQ~[Lkn~L .LCsZ LJ%

                 9[LnsJL[C {~^L^{~[LnsJ~[C~0~[^md^{nqLsC~^L[LsL =9[L                                    
                 c s ^{A Inii k^IC~^kZ ~n ~[L In s ~[C~ ~[LL L[C {~LJ Cee
                                                                                                                            
                 iCmkLsnQIniqsni^{L CgeiFkLsnQqLs{ C{^nkCkJ~[LsLC~Ck                                           
                 ^iqC{{L ;n  dkn  ~[^{ ^{ C IC{L [LsL ~[Lc s [C{ ~[L eLZCe
                 ^k{~s I~^nk{ 9[LLnkesLCeeC{dLJnkLr L{~^nk ]I[C{~n
                 ~sFJZL~CsLqns~[L LsLkn~CeenLJ~nZL~  CkJ0 ~\^md~\L
                                                                                                                                
                 iL{{CZL [C{ HLLk sLIL^LJ \C~ ~[L L^JLkIL ^{ Ien{LJ CkJ ~[L
                 nk~ZL~Ck~[^kZinsL 9[LLHLLkL{{Lk~^Ceensd^kZknk{~nq

G ($GA;$G6%G=($G  !-5;@A"<+65G+;GG4<?$8G6%G#+;"8$<+65G6%G<($G@+1G.A#&$ G  !C G !
G;; G77 G< GGGG =G+;G<($G69(6#6EG7786"(G=6G#$2,5&GD,<(GG#$#36"0$#G/B8FG;$$
 ! C G!G;; G77 G= G GGG"+<<+65G64+<?$# G 5#G#$;+'$#G<6GA8&$G<($G.A:G>6G
8$"(GGC$8#+"<G!FG&+C+5&G468$G;$8+6A;G"65;+#$8<+65G<6G6776;-5&G76+5=;G6%GC+$D G  !C G !!
;; G GGG


                                                         
                                                        54
     Case 1:25-cv-10399-FDS             Document 2-3        Filed 02/18/25     Page 55 of 77

                                                                                                  
                                                                                                  

                 ]x:fmH:V.immIf:: Cuf9.|i *:f:.ccf].8HMXG.y::U:X9 ):|
                 9M9Xm8]W:7.8UyMmHmHQi.mmHf::]8V]8U]fCuf]8V]8U (H:|f:
                .mmy:Vx:]8V]8U0X9mH:|H.x:X]yH:f:m]t ']]ufc]iMmM]XMi
                 mH:Ruf|iH]uV97:f:.9mH:      W]9:VMXimfv8mM]Xi.X9
                 G]D]WmH:f:                                                                   



(H: ]ufqfvV:9mH.mGMx:XmJ:V:XGmH]>r:mfM.V mH:XuW7:f]>:zHQ7Mmi19yMmX:ii:i mH:   
                                                                                                           



8]WcV:zMm|]>mH:Miiu:i .X9mH.mnH:Suf|H.9]XV|7::X9:VM7:f.mQXGCfmHf::9.|i 

9:VM7:f.mM]XiH.9X]m7::XiuA8M:XmV|9u:.X9mH]f]uGHm]y6.Xm.     

MXimfv8mM^X #mMXimfv8m:9mH:Ruf|m]8]XmMXu:9:VM7:f.mMXG

        &X%]X9.| $uV|  .m.ccf]zMW.m:V|.W mH:Suf|i:Xm.X]mH:fX]m:?b mIMi

 ]ugq (HMiX]m:im.m:9

                !:icMm: ]uf 8]WWMmW:Xm m] mH: 9um| :Xmfvim:9 MX ui  y: BX9
                ]vfi:Vx:i9::cV|9MxM9:97|FX9.W:Xm.V9M@:f:X8:iMX]uf]cQ\]Xi
                19im/o:]>WMX9 (H:9Mx:fG:X8:MX]ufxM:yi0g:X]mf]]m:9MX.
                V.8U]>uX9:fim.X9QXG]f:@]fm7um9::cV|H:V98]XxM8mM]XimH.m:.8H                 
                ]> ui 85f|  uVmMW.m:V| V:.9MXG m] . c_MXm yH:f: 8]Xi:Xiuj Mi      
                                                                                                      
                                                                                                      
                uX/oq.MX.7V: *:f:8]GXM~:mH:y:MGHm]>mIMi.9WMikN`Y29mH:
                MWcVM8.mM]XiMmH]V9i                                                              
                                                                                                      
(H: ]ufq.G.MXf:du:im:9.fGuW:XpEa[ 8]uXi:V.im]yH:mH:fmH:f:H.97::X9u:.X9
                                                                                            O
mH]f]uGH9:VM7:f.mMeXl (H: ]WW]Xy:.VmH.fGu:9mH.mmH:Tuf|H.97::X9:VM7:f.mMXGmy;Zq} P
                                                                                                      
                                                                                                               
my]m]my:Xm|mKf::H]wfi7umGMx:XmH:V:XGmH]>mfM.V XuW7:f]>:zLM7Mmi.X9yMmX:ii<i 39        


8]WcV:zMm|]>Miiu:i mH:|H.9X]m9]X:.mH]f]uGH9:VM7:f.mM]Xucm]mHMic]MXm mm]h:|

+1X:mmM .G.MX H.9.x.imV|9M@:f:XmxM:y ":.fGu:9

                &ufxM:yMimH.mMmMimMW:Cf.     ,MXisu8mM]X- (H:|
                H.x:8]W:7.8UmyM8:MX9M8.mMXG:ii:XmM.VV|mH.mmH:|f:H]c:V:iiV|
                9:.9V]8U:97ummH:8]Xm:Xm]>mHQiV.m:imW:ii.G:MimH.mr:|H.x:
                7::X]x:f.VVmH::xM9:X8: (H:cf:xM]uiW:ii.G:i.M9mH:|9M94
                :{H.uimMx: f:xM:y (HMi mMW: mH:| i.M9 mH.m    mH:| H.x:                   
                FX9.W:Xm.V9Mi.Gf::W:Xmi.7]umyH.mmH::xM9=X8:W:.Xi #mi.                            
                                                                                                            
                W.qq:f]>]cMXQ]X #miX]m.W.mq:f]>V.8U]>uX9:fim.X9MXG (IMi
                8]ufqyH:X|]ui:XmmH:Tuf|]um:X8]uf.G:9mH:WX]mm]m.U:.imf.y
                x]m:  :X8]uf.G:9 mH:W m] G] ]x:f .VV mH: :xM9:X8: MX . x:f|


                                                    
                                                    55
                                                                                                                         
      Case 1:25-cv-10399-FDS                   Document 2-3            Filed 02/18/25          Page 56 of 77
                                                                                                                         
                                                                                                                                    

                                                                                                                         




                  7@-:05S78<S S@-094S55S180@0:8>S<S@-?S@-OS-LS:8S
                                                                                                                         
                                                                                                                         
                  @-@S -1>S0>SM-@S      0>S)<S                                                             
                                                                                                                          


-S:F<@S,<S@-@S@-S3F<OS-S8,,S08SFS8S@-:<:F,-S60<@0:8>S8:@18,S@/@SA.1>S
                                                                                                                   
3F<OS-S8SN@<:<08<OS8S0@S-S8 L<S>8SS8:@S504S@-0>S*:7SS3F<OS @S@-<%<S

;<:L0S@-S3F<OS:"S@-S+66S       08>D@0:8S8S>4S@-7S@:S<ES@:S@-S

51<@0:8>SM0@-S@-:>S18>CH@1:8>S08S708S
                                                                                                                             
         -?S>7SOS@S;;<:N07@5OS                S;7S@-S3F<OS>8@S8:@-<S8:@S@:S@-!S:F<B S-S                        
                                                                                                                    
                                                                                                                             
                                                                                                                             
:G<@S>@@S@:S:J>6S@-@S@-S3F<OSM>S@S8S17;>>S <S@/S3F<:<>S(5S08@:S@-S:Q::7RSPS
                                                                                                                             

@-S:F<@S<S@-S8:@S
                                                                                                                                         



                  >;0@S :G<S<2,:<:F>S &:<B>S MS :8@18FS @:S (8S :F<>5L>S @S 8S
                  07;>>S F<S ;<>;@0L>S :8S @-S L08S <S >@46OS 0L0S
                                                                                                                             
                  :7S77<>S:"S@-S3F<OS(<75OS60LS@-@S@-SL28S>I<;>>>S                                        '
                  @-SK8S:#;<::"S>@60>-08,S@-S678@>S:"S@-S-,>SO:8S                                          
                  S <>:86S :F@S :8L<>6OS :@/<>S(8S@-S L08S$05>S @:S                                    
                  7@S@-0>S>@8<S8S:>S8:@S>G'08@6OS>@50>-S@-S8>><OS
                  678@>S :"S@-S -<,>S -S ;S 0L0>0:8S 0>S 8:@S FS @:S 54S:"S
                  &:<@S:<S051,8SF@S<@-<SS>28<S-<8S@:S:I<S080L0G6S
                                                                                                                             
                                                                                                                              
                  ;<080;6>S8S7:<6S:8L0@0:8>S :S:8@08FS@:S51=@SM:F6S
                                                                                                                             
                                                                                                                             

                                                                                                                                 
 -R>        \hv{r:{Tjhv{2{>v+r&jhv{T{{Tjh7;a2vmrjT;>{R2{\h2:r\f\h2a:2v> {S>nr\h:[o2a U
f>Rj;Kr;>:T;\hOq>v{TjhvjDG:{Tv{R>>r;T:{jD2^u *hfjv{:2v>v7; n>rR2nvv{rZ:{avn>2`ZhO\h3ba:2vv
29vja{>:>r{2]ha:2hhj{9>j9{2\h>;hjrTvT{>n>:{>; -R>>r;T:{{jRT:R>2:R^rjr2Q>>vfv{jD:jrw?9>              
RTvjrR>rjh>r;T:{ {R>r>va{jDSTvjrR>rjh:jhT:{Tjhv 2h;hj{f>r>a2h2:qT>v:>h:>Th{R>:jh:axVjhv=Y
j{R>r^rjrv ,{Taa \hjr;>r{j9rZhO{>a>f\h;v{j2h2hZfjvr>va{ jfv{>2f\h>{R>Tvv>vjR2@{j  
;>:T;>T{R:7;jr2h;T{R >nrjn>rr>O2r;7;r>vn>:{Kr>2:Rj{R>rvjn\hWkhv 0jvRja;:jhvT;>r{R| }T{Tv
;>vTr29a>{R2{{RTv:2v>9>;>:T;>; 0jR2>9>>hv>a>:{>;\hR>v6>f7h>r2h;Ljf{R>v2f>vjr:>4vph ( 
N{r>^rja;9>v>a>:{>; -R>r>Tvhlr>2vjh{jvnnjv>{R2{{RTv:2v>Taa>>r9>v9fT{>;{j{>a>nAsvjhv 
Rj8>fjr>\h{>aaTO>h{ fjr>Zfn2r{T2a jrfjr>:jfn>{>h{{j;>:T;>T{{R2hj2r>jr{R2{fjr>jr:a>2r>r 
>T;>h:>Taa9>nrj;:>;2{2hj{R>rT2a.T{R2aa{RTv\hf\h;T{Tvjr;{j;>:T;>{RTv:2v>TDj:2h<$vj
:jhv:T>h{Tjva *hjr;>r{jf2`>2;>:TvTjhfjr>2{2\h29a>  {R>a22a2vZfnjv>v{R>9r;>hjDnrjjDjh~R>
&jffjh>2a{R{j>v{29cZvR>>u>vv>h{T2a>a>f>h{jD>2:R\h;T:>h{9>jh;2r>2vjh29a>;j9{ *Fj4rAa>M
T{R2r>2vjh29a>;j9{2v{j7>vv>h{T2a>a>f>h{jD2h\h;T:f>h{ {R>h{R>;>Hh;4h{Tv>h{T{a>;j{R>9>>J{jE
{R2{;j9{2h;fv{9>Kh;hjOTa{jh{R2{\h;T:>h{ *h:jhHrr\hO{jO>{R>r j8>{jOT>nrjn>rryn>:{ 
{j>2:Rj{R>rvjnZhTjhv 2h;aTv{>hT{R2hjn>hf\h;{j>2:Rj{R>rv2rOf>h{z /R>r> >r>Tv;Tv2Q>>f>{ 
                                                                                                                          !
{Rjv>^rjrvRjja;Jh;{S>;>Hh;2h{hj{OTavRja;:jhvT;>rR>{R>r{R>;j9{\h{R>Trf\h;vTv2 
                                                                                                                         X
r>2vjh29a>jh>TDT{f12`>vhj\fnr>vvTjhjh{R>f\h;vjDR>j{R>r^rjrvRj4t>>q2aa\h{>aaTO>h{ RjR2>
                                                                                                                         ) 
R>2r;{R>v2f>>T;>h:>T{R{R>v2f>2{>h{Tjh RjR2>2h>q2a;>vTr>{j2rrT>2{{e>{R2h;RjR2B"{5>i
{R>v6>j2{R2v^rjrv %{{R>v2f>{Zf> {Rjv>^rjrvRjja;Jh;{R>;>Hh;7{OTa{jOR{v>rTjvaj2v_
{S>fv>a>vR>{R>r{R>g2 hj{r>2vjh29a;j9{R>:jrr>:>vvjD{R>\r^;P>h{TDT{Tvhj{vR2r>;9j{RCr
f>f9>rvjD{R>^r -R>vRja;2v`{R>fv>a>vR>{R>r{R>vRja;;Tv{rv{{R>>TOR{jrvI:T>h:jD{d#@
>T;>h:>TDTR2vGTa>;{j:jh\h:>{R>f\h;vjD{R>\rHaaj^rjrv9>jh;2r>2vjh29a>;j9{

                                                             

                                                             56
     Case 1:25-cv-10399-FDS           Document 2-3       Filed 02/18/25      Page 57 of 77




                27EqLZ7*_4b_Zl7e}7qbBe37xlqb3b[ceb\Ll7qH7l7477cZH7Z4
                27ZL79l                                                                          
                                                                                                   
                                                                                                   
D7ee7*4L_GqHLl_bq7 qH7bxeq473Z.e74*[SlqeL*Z/44Ll3H1G74qH7Uxe2*3YqbqH7

47ZL27e*qLb_ebb]qb~*LqBeqH7Ux4G7  bx_l7Ze7^*L_74S_qH73bxeqebb[qb4Ll3xll*_

*Ge77*2Z74*q7qbe7wBe*lq*qxl3b_<7e7_37
                                                                                              M
        &_#xZ  qH747=_4*_q@Z74qH7L_lq*_q[bqLb_qb4Ll[Llllxccbeq742*8A5*|Lqm
                                        
                                                                                                   
                                                                                                   

Cb^qvbk7)0_7qtL*_43b 3bx_l7Z qtbk7#*3Ylb_  qqbk7#*3Ylb_l*?4*|Lqlqq74
                                                                                                    

qH*qb_#xZ  *VxebeL_qH73*l7#xebe3b_q*3q74HL[ qqbk7#*3Ylb_~*l+2Z7qb

L47_qLFqH7c7elb_*l*47ZL27e*qL_GVxebe2*l74b_HLlH7e47l3eLcqLb_b9~HbH7lH7Ll ~I7e7

H7lH7~*ll7*q74 ._437et*L_L47_qLFL_GS_<bj*qLb__*[7*a4b33xc*qLb_4Ll3Zbl744zhL_G
                                                                                                    

qH7|bLe4Le7ceb37ll 33be4L_Gqbqtbk7#*3Ylb_l*?4*|Lq #xebeqbZ4HL[qH*qH7nJ7 W
                                                                                                     
                                                                                                    
                                                                                                    

~LlH74qbL_<be[JL[b9qH7qex7e7lxZqlb9qH747ZL27e*qLb_l273*xl7H7lH727ZL7|74qHbl7f7lx!o

lLG_L@3*_qZL[c*3qqH747=_4*_qleLGHql  #xebel*L4qH7Xxexa*_L[bxlZ*Ge774qH*qrK7 

47=_4*_q~*l_bqGxLZqb9bx_ql*_4*_4lc73L@3*ZZqH*qqH7[xe47e3H*eG7~*lb:;qH7

q*2Z7 Selq#*3Ylb_?4*|Lq*qc1

        "_HLl*?4*|Lq qtbk7#*3Ylb_*Zlblq*q74%7LqH7e$l'7*4_beH7e3bx_l7Z

3b_l7_q74qbqH77_qeb9qH7[LlqeL*Z  7=_l73bx_l7Z~*l47_T74qJ7bccbeu{Lqqbe7dxNlq

sH*qqH7bxeqL_dyLe7b_~HL3H3bx_qbe3bx_qlqH7Vxe[*H*|7277_47*4Zb3Y74L_3Zx6O_G

Z7ll7eL_3Zx474b>7_l7l ._4b_~JL3H3bx_qbe3bx_qlqH7Vxe[*H*|71eL|74*q*|7e6O3qP

 *qc*el*_4  

        qqbk7)*i_7qtLl*?4*|Lq*|7ee74 qH*qb_#xZ  H7e737L|743b[[x_L3*qQb_l  

Cb[q~bL_Be[._ql~HbH*4e737L|74L_<be[*qLb_Cb[q~b47ZL27e*qL_GVxebelL_qH73,p7

(H7@elqL_<be[._q"_<bj*_ql7_qHL[*l3e77_lHbqH7lH7H-4e737L|74Cb[lb[7b`7

7Zl7"_q7e[74L*eb9q7q[7ll*G7lqH*q"_q7e[74L*eH*4cxecbeq74Ze737L|74CbgR*

                                                  

                                                 57
      Case 1:25-cv-10399-FDS               Document 2-3           Filed 02/18/25        Page 58 of 77




Pma\ax'ma\ax  xgg\d>tx,0[Y>ggNx0p>aa>8xgK0gxK>xq0fx06U>xg\x_\fNgNp>UtxN8>YgNHxqKN7KQma\aRx x
                                                                                           
q0fx'ma\axx60f>8x\Yx0xDafgxY0V>xJNp>Yxg\xKNVxF\Vx#YEc0Ygx x#YxgK>xf7a>>YfK\gx'ma\bx x xMx

 g>sg>8x&Yg>aV>8N       x#gxq0fxY\gxJmNUltx\Yxf>7\Y8x8>Ja>>       x8xf_UNgxNYxK0U@xEaxgK>xf>7\Y9x            x x
                                                                                                                  
                                                                                                                 
 7K5J> x+K>YxgK>xPm8J>xf>Ygxmfx607TxqNgKxgK0gx">d0Y8>uxgKNYJxg\xU\\Tx0gxgK>x\gK>axfN8>xNgxho>8x

/x NYg\x0x6mUUtxV0g7K x#xgK\mJKgxgK>x_a\f>7mgN\Yx8N8Ygx_a\p>xgK>x70f>x *\x\Y>xgK\mJKgxfK>xKNixKNXx
                                                                                                                   
                                                                                                                   
                                                                                                                  
 \Yx_me\f>x\ax>p>YxgK\mJKgxfK>xKNgxKNVx\Yx_me\f>x                x ,0[Y>ggNxB80pNgx0gx_2a x x                   




         gg\d>tx,4Y>lgNxfg0g>:xgK0gx3\gK>axN[A\aV3gx#YEaV0Ygx!x7\Yg07g>8xKNVx\Yx(mUtx x

  x#YEaV3gx!xg\U8xKNVxK>x\axfK>x_>af\Y0UUtxTY\qfx0xPma\ax'ma\ax!x0Y8xgK0gx#[A\aW3gx!x

 0Y8x'ma\ax!xK0p>x0xVmlm0UxFN>Y8x#Yg>c>8N               !xqK\xNfx0x7maa>Ygx7\q\aT>ax0Y8xFN>Y8x]@x


 'n\ax!x #Yg>aV>8N         !xg\U8x#YA\c0Ygx!xpN0xg>sgxV>ff0J>xgK0gx'ma\ax!xq0fx0x8>UN6>a0gNYJxSma\ax x

                                                                                                                       
 NYxgK>x70f> x#Yg>aV>8N       !xK08x0x8Nf7mffN\Yx\p>axg>sgxV>ff0J?xqNgKx'ma\ax!x06\mgxgK>x
                                                                                                                  
                                                                                                                  
 >s_>aN>Y7>x\@x6>NYJx0xPma\a x#Yg>c>8N0atx!xf0N8xgK0gx'ma\ax!xf0N8xgK>a>xq0fxY\x7\YfN8>a1jO\Yx

 EaxVma8>ax x)0YfU0mJKg>axfg0ag>8x_\UUNYJx0gxxgK>Yx>Y8>8x8>08U\7T>8x -0g.xY\t>fx                   x        
                                                                                                                  

 ,0[Y>lkNxC80pNgx0gx_0a x x&YEaV0Ygx!xg>sg>8x607T xNYg>a>fgNYJ x#@xgK>a>xq0fxY\x                              
                                                                                                                  
                                                                                                                     




 7\YfN8>a0gN\YxEaxVma8>axlq\ xfK\mU8YgxfK>xK0p>x6>>Yx07`mNgg>8x\YxgK0gx7\mYgvx0Y8xKmYJx^YxgKwx

 a>V0NYNYJx7K0aJ>afx-fN7.xJ\>fx607Txg\xgK>xPmatxp>a8N7gxfUN_xgK0gxq0fx7\YGfNYJ   $=x                            3
                                                                                                                   



 #Yg>c>8N       !xg>sg>8xfK>xfL\mU8p>x6>>Yx07`mNgk>;x#x0Ja>>x ,>f xgK>xa>V0N[NYJx7K0aJ>fxr>a>x 


 qK0gxgK>txq>a>xKmYJx\Y xY8xgK0gxNYfgam7gN\Zx_0_>axq0fxp>atx7\YGfNYJ x 

         gk\d>tx,x0[Y>ggNxfg0g>8xgK0gx60f>8x\YxgK>x8>f7aN_gN\Yx\@x'ma\ax!xK>xa>7>Np>8xF\Vx

 %YEaV3gx!x0Y8xgK>x8>f7aN_gN\Yx\@xqK0gx'ma\ax!xg\U8x&Yg>aV>8N                  !x K>x7\mU8x_\fNgNp>UtxN<>YgNIx


 gK0gx'ma\ax!xq0fx0x8>UN6>a0gNYJxPma\a x



 
   )3$%+3 %13$)3%/$) 3 '.3+%3+3 %/',3+ +3+30'+3)!&3(3 $+#$+3313 %13+3
 '&')%$3,%33/ +23'3+3 ))'3$!/3%$))31%/ 33%$*$3'3+3/'233+233-3
 $ +31 )3$%+3/ +23%3 " 3+3!))'3$!/3%$))3

                                                         x

                                                         58
       Case 1:25-cv-10399-FDS          Document 2-3        Filed 02/18/25      Page 59 of 77
                                                                                                    

                                                                                                    n
                                                                                                    



                                                                                              >2
       8¡Y©²I²RY o²NY²eYW²N²¢YYN²NcWN¥o²o²¢ ²[²kY²WYaWR² ² 
  
                                                                                              ?²K            

o²²Wop²§kYYo²kY²NYW²kN²kY²YVYp¥YW²N²¢pVoYW²kY²VN²h²R²oWq²¦pWL@
                                                                                                  ²
                                                                                                    
                                                                                                    
                                                                                               
ª oWYoipj²koY\kYY[²N²C¢²9²C¢²9²W²8Y©²I²PY o²kN²kYkY²§N²]P{ oN² 
                                                                                                   
§ok²kY²NcWN¥o²kY²kNW²Y¥o¢©²_yYW²NW²VeYW²kY²¢TNVY²[²kY²V¥YNo²
                                                                                           r²
TY§YY²AgR²9 NW²AYYWoN©²9² C¢²9²VNpeYW²kN²kYkY²YN²²§pY²F6²Y|²                 




k¢jk²kY²kp²ko²²¢Y²²Y¥Y²Y§²kN²kY²kNW²kp²kp² IRY p²H¢YY«-                
                                                                                                               




8^fWN¥o²N²S²(

        G²C¢©²!²&&(²8 Y©²CNV²¢TpYW²N²¢YYN²NcWN¥p²Npj²kN².²

C¢©²+²&&(²RkY²}¢² C¢²;²VNVYW²mp²=Y²pWYodYW²mo²Y²N²N²~¢²" 3J²k,²
                                                                                             
                                                                                                         



 WYVos²[²§k²kYkY²p²§kYY²kYkY²§N²YNYW²NW²VY No²pWYoipj²p`Np² N¬²
                                                                                                                



 NW²VV¢No²WpVYW²W¢pj²kY²¥p²WpY²VY²C¢²;²W²8 Y©²CNV²kN²             
 kYkY²§N²¢Vg NTY²§pk²k§²kY²pN²YWYW²²C¢²;²NoW²kN²o²§N²¥Y©²xUp­²
                                                                                                         
                                                                                                         

 kN²kY²YpY²VNY²YWYW²§ok¢²kY²}¤©²TYpj²NYW²NT¢²YNVk²V¢²YYVpN©²:¢²#²NW
                                                                                                  t²
 :¢²'² CNV²H¢YYN²8cWN¥p²N²N²'(² 8VVWoj²²CNV²H¢YYN² ²
                                                              
                                                                                               
                                                                                                         
 8cWN¥p²C¢²;²W²mp²kN²kY²}¢©²NjYYW²kN²kY²WYaWN²§N²²j¢p©²²:¢®4²!²N¯
                                                                                                     /
                                                                                                  u²
 '²kN²kY©²WpNjYYW²Y©²²:¢& ²YY²bYY²T¢²kN²kY©²TYoY¥YW²kN²kY©²¨ZY² M² 0

 VYYW²²VY²²N²Y¢p²²N²V£²TYgY²kY©²V¢W²²k¢W²Y ²¥YWpV²17²
                                                                                                             
                                                                                                             

 P©²V¢²C¢²;²TYpY¥YX²N²}¢²§¢W²VTNY²kpkY²NVV¢² =YkY²N²N$°W² B²v
                                                                                                    w
 kN²o[²YVYN©²kYkY²§¢W²Ypi²TYgY²kY²V¢ ²N²j²N²kpkY²pWYp©²YNpYW²²5²

 YVYW²

         G²D¢©²!+²&&(²8Y©²CNV²¢Tp YW²O²YVW²¢YYQ²NcWN¥p²N %j²

 kN²²E¢©²!*²&&)²kY²§N²VNVYW²T©²NkY²}¢² C¢²<²§k²kY²oWYo_zYW²T©²lY²

 WYVpo²[²§k²kYkY²o²§kYY²kYkY²§N²YNYW²NW²VY Np²pWYpioj²pgNo² N±²


                                                   
                                                   59
                                                                                                     


     Case 1:25-cv-10399-FDS           Document 2-3        Filed 02/18/25      Page 60 of 77




>iGmFFp>zZmiGZvFcmvIGGs\iVzWI mZsGZsIpsmFIvv 0sms+>cvmvz>zIGzW>zzWI`s?w

i>iZfmvmi)mizv?iq zW>z~WIGILiG>iz>vimzVZc~mJzWmvIFW>sVIv ?iG~W>z{XI

IsIGI>GcmFbIGmimiImJzWIcmIsFW>sVIv mi)miz 0>Fbvmi7IFmiG7ppcIfIiz>d

(NG> Zz?zpD

       5i(Vvz  zWI)mhmiI?czWOcIG>6mvz 8sZ>c4mzZFImJ*ZvFcmvsIvz>z]jV

?z(*(1>ccW>GsIFIZ IG~mivmcZFZzIG mZFIf>ZcvRmf>iZiGZ ZG?cZGIizZUZiV

zWIfvIc Iv>v>GIcZEIs>zZiV`smsvz?zZiVzW>zzWI`sW>GEIIii>iZfmvmi)mizv>iH

8WI)mffmiI>c~W>cvmsIFIZ IGIf>ZcvRmf~YsIIZiGZ ZG>cvZGIizZUZiVzWIfvIc Iv?vasmsx
                                                                                        


vz>zZiVzW?z~WIZvWIGzmvpI>b>imifmvc -iZzvsIvpmivIzmzWIIf>Zcv zWI)mhmiI>c}W
                                                                                                      


vz?zIGzW>zZz>vIzWZF?ccpsmWZEZzIGRmgZirZs\iV>vzmzWIvEvz>iFImJ~WI`sGIcZEIs@|Zmiv

>iGzW>zZzFmcGimzpsmfZvIFmkPGIizZ>cZ~>vZzf>EIsIrZsIGzmGZvFcmvIzWIvEvz>iFImJ .
                                                                                                            




>iFmi Isv?zZmizmzWIGILiG>izms~WI)msz (ccsII`smsvGIFcZiIGzmFmhl^F?zIKs~WIt%

Z~WzWI)mffmiI>czW

                                          

      8WI,ZTW(fIiGfIizzmzWI9i\zIG7z>zIv)mivzZ~zZmi ?ppcZF?EcIzmzWI7z>zIvzYunVW
                                                                                              !
zWI,ms~IIi~W(fIiGfIizzm~WI9iZzIG7z?zIv)mivzZzzZmi CG2>vv>FWvI~~vFmffmiBiG < &

vz>~zmsc?psmzIFz>iZiGZ ZG>cGILiGCzRmfEI_V~ZFIpc?FIGZi`Imp?sGQszWIvAfI

FsZfI       2?vv  7II   "#

3?vv  r mzZiV    97  :8=W'

:G=mEcI;=Imp>sG:F=c>vI>MmsGv?FsZfZi?cGILiG>iz? >cIGsZVWzzmW> IWZvzsZ?c

FmfpcIzIGE>p>szZFcDZEi?c:FZz>zZmimfZz~IG= (GILiG>izZvIizZzcIGzmpsmzIFzZoi         
                                                                                                      /$        


SmgGmEcI`ImpDG[JzWIsIW?GEIIivmgII Iiz vFW?v>i>FrZ~~>c 
                                                                        YZFWzIsfZi>zIyzWI

msZVZk>c`Imp>sG vII            2>vv  msZJ>fZvzsZ?eZv



                                                  

                                                  60
      Case 1:25-cv-10399-FDS                Document 2-3           Filed 02/18/25         Page 61 of 77




8Td8]87trMdGVndtdG8t78=T70Td`t]8Zn8`dtV]t6VT`8Tdt              tnTR8``tdG8]8tr0`t0tS0TM=`dtT868``LmtA\ t
                                                                                                                   

dG8tSM`kM0RtZnVd0dMVTt0T7t6Md0dMVT`tVSMdd87 t  t)0`` t0dt t +88t t*0`` t

0dt tZnVdMTEt  qt  t- + t ttt,G8tMTd8]8`dtMTtEMqMTFtdG8t !tt
                                                                                                                  
                                                                                                                  
                                                                                                                  
Y]V`86ndMVTtVT8t6VSYR8d8tVYYV]ldstdVt6VTqM6dtdGV`8trGVtG0q8tqMVR0d87tMd`tR0r`tQo`dM?8at                                  




d]80dMTEtdG8tQn]s`tMT05MRMdstdVt]806Gt0tq8]7M6dt0`t0tTVT8q8TdtdG0dt7V8`tTVdt50]t]8d]M0R t

        (TtG8]tSVdMVTtdVt7M`SM`` tdG8t78=T70Tdt0]Eo8`tdG0dt]8d]M0RtVTt(T7M6dS8Td`tt0T7ttrWnR7t"t
                                                                                                                         




qMVR0d8tdG8t7Vo5R8tQ8VY0]7stY]Vd86dMVT`tV;tdG8t=78]0Rt0T7t`d0d8t6VT`dMhodMVT`t5860n`8 t78`YNe8t

05`8T68tV;t0tQo]stq8]7M6d tdG8tQn]s tMTt<6d t]806G87t0toT0TMSVo`t786M`MVTtdVt06ZnMdtG8]tVTtdHX`8t

6G0]E8` tV]t0Rd8^0dMq8Rs t5860n`8tdG8]8tr0`tTVtS0TM=`dtT868``MdstdVt`nYYV]gtdG8t786R0]0dMVItV;t

dG8tSM`d]M0RtrMdGt]8`Y86dtdVtdG8t6G0]E8`t %C8]t60]8DRt6VT`O78]0dMVT dtG8t&Vo]dt6VT6Ro78`tdJ1dtdG9t

78=T70Td`t4EnS8Td`t0]8trMdGVndtS8]Mdt

                    

        ,G8t78=T70Tdt?]`dt6VTd8T7`tdG0dt`G8tr0`t06ZnMdd87tVTt(T7M6j8Td`tt0T7t t0T7tdG0ft
                                                                                                                          
dG8]8A]8t]8d]M0RtM`t50]]87t50`87tVTtG8]t2idV_8s`t0>70qMd`tYo]YV]gMTEtdVt]8@86dt`d0d8S8Td`t5st #t

Qo]V]`tdG0dtdG8tQn]st]806G87t0toU0UMSVn`t6VT6Rn`MVTtdG0dt`G8tr0`tTVdtEnMRdstVTtdGV`8t6G0]E:bt

%RdGVnEGt0RRtdG8t`d0d8S8Td`tMTtdG8t0>70qMd`t0]8tBVStYpYV]g87tQo]V]`trGVtrM`GtdVt]8S0MTt

0TVTsSVn` A
          t ]tdG8tYo]YV`8`tV;tdKM`tSVdMVT tdG8t&Vo]gt0668Yd`tdG8t`d0d8S8Td`t0`tkn8t0T7t

066o]0d8  'q8Tt7VMTEt`V t0Tst0E]88S8Tdt0SVTEtdG8tQo]V]`t0`tdVt&VoTd`tt0T7tt63UVdt58t                               
                                                                                                                      
                                                                                                                      

6VT`M78]87t06ZnOdg0R`tA]tYo]YV`8`tV;t7Vn5R8tQ8VY0]7st                                                                
                                                                                                                             



                                                                                                                      

        ,VtkMEE8]t7Vo5R8tQ8VY0]7stY]Vd86dMVT t.0/Tt06[nMhd0Rt]8[oP]8`t0tq8]7M6dtVTthK8t<6dct0U7$t

S8]Md`t6Md0dMVT`t0T7tZnVd0dMVT`tVSMdd87t  qtt)0``t t                                       

                                                                                                                      
                                                                                                                      


  7)7 $1&,7%)(7)72'!#)(7(7,'17#71&)7)7(&(73)7#(7$1#( (7&)&6*$#7$7
)7()-!#)(7(7(/$#7#71#$#)&) 7 7(1()#7$7)7$#2&()$#(7&) 57$#0)(7)7#"(7)7
1&573&$)7)$7.7 $1&,71'#7 &)$#(7)7 ()7$7374%&(((7(&!#)7$2&73)&7,7
  $!!$#3 )7!+7)(71&#7(7)$7)7 !#)(7$7)7   !%((7 7

                                                          t
                                                          61
                                                                                                            
                                                                                                           
      Case 1:25-cv-10399-FDS          Document 2-3         Filed 02/18/25      Page 62 of 77               
                                                                                                           
                                                                                                           
                                                                                                           
                                                                                                                      

                                                                                                            
                                                                                                           
                                                                                                 
!% ¨ @QQ¨9¨<L̈¨!&# ¨¨'¨5¨Q z¨bEtt¨z¨JQ¨bQtN¨¨HQ ¨z¨E¨QLzN¨izNiLyQj¡¨ ¨ r*¨
                                                                                                           
                                                                                                           
LytEiz¨] ¨E¨L iyQ¨V¨biLb¨bQ¨bE¨JQQz¨ELiQN¨z¨bQ¨XL¨EzN¨yQ i¨ ¨¨6zO ¨b¢¨
                                                                                                                     

                                                                                                           
zt¨Q NiL¨biLb¨LH¨JQ¨ QLQiQN¨FzN¨ QaE NQN ¨E¨E¨LytQQ¨GzN¨EtiN¨Q NiL¨VË¨o ¨£¨¨¨i¤+¨
                                                                                                 s¨
E~¨Qz¨EzN¨JtiL¨Q NiL¨¨E[QN¨iz¨Qz¨L  ¨E¨bQ¨~E~iy¨EL¨V¨fQ¨o ¨EzP¨iz¨ k4¨
                                                                                                            
 QQzLQ¨V¨bQ¨btQ¨EzQt ¨¨bE¨QELb¨o  ¨bE¨Ez¨ zi¨¨Q Q¨bi¨NiQz¨¨bQ¨ ,¨ -¨
                                                                                                           
L ¨iz¨LEQ¨bi¨NQLiiz¨bE¨JQQz¨yiEqQz¨ ¨yi Q QQzQN¨J¨bQ¨] QyF~¨ ¨bi¨Ztt ¨l                          
                                                                                                               




iz¨LEQ¨bQ¨bE¨JQQz¨] LQN¨iz¨ELiQLQzLQ¨J¨iy Q ¨yQEz¨LiEiz¨yiQN¨

 ¨  $$#¨=E¨!' ¨##¨!$¨ @QQ¨=E¨?¨8 iy¨>¨!'E¨AbQ¨R NiL./¨
                                                                                                              
                                                                                                               

bEtt¨JQ¨zF~iy¨;¨bEtt¨JQ¨E¨aQzQ Et¨Q NiL¨ QQN¨J¨bQ¨o ¨¨bQ¨oNaQ¨iz¨Qz¨LU3 ¨
                                                                                                           
                                                                                                                           
                                                                                                               
                                                                                                                               




AbQ¨o ¨bEtt¨\uQ¨E¨Q NiL¨ti¨ib¨bQ¨LtQ q¨z¨bQ¨ Q¨V¨bQ¨Q NiL¨5¨Lb ¨cQ¨

Qiab¨V¨\zEt¨ENoNiLEiz¨LI~¨JQ¨aiQz¨¨Ez¨o ¨ELiz¨bE¨i¨z¨ QQN¨iz¨E¨\{Et¨
                                                                                                                              



Q NiL¨FzN¨E¨NiizLiz¨y¨JQ¨yENQ¨JQQQz¨Ea QQyQz¨z¨E¨Q NiL ¨EzN¨ Q ¨ QLQi ¨
                                                                                              v 
EzN¨ QL Niza¨VË¨Q NiL¨LiEiz¨yiQN¨ ¨  #)!¨=E%̈" ¨%&¨
                                                                                                               
%'¨ )($¨

        7QLEQ¨bQ Q¨E¨z¨Qz¨HN¨JtiL¨Q NiL¨E[ yQN¨iz¨Qz¨L ¨ QzNQ QN¨nz¨em¨
                                                                                                                   
                                                                                                                 
¨LEQ ¨bQ¨NQZzNEz¨E¨z¨ELiQN¨VËz¨V¨bQ¨LbF aQ¨AbQ¨zt¨zEziy¨EL¨V¨bQ¨p ¨ 
                                                                                                                           
 bQ Q¨E¨bQi ¨ Q QQzEiz¨¨bQ¨8 ¨bE¨bQ¨Q Q¨E¨H¨iyEQ¨EzN¨zEJtQ¨¨Ea ¥¦¨z¨w¨
                                                                                                                    

 bQQ ¨Q¨8yy|QEtb¨bEN¨QEJtibQN¨KQzN¨E¨ QEzEJtQ¨NJ¨bQ¨QtQyQz¨VhS¨                             C¨0¨
                                                                                                                   
    AbQ¨  QN¨tEQ ¨EQEiz¨J¨yQ¨o   ¨E_Q ¨bQ¨bEN¨JQQz¨NiyiQN ¨gd¨bx¨

 o ¨bEN¨iz¨YL¨Ea QQN¨z¨yQ¨V¨bQ¨LbFaQ¨N nza¨NQtiJQ Eiz¨N¨z¨bEQ¨bQ¨] LQ¨W¨E¨
                                                                                                                   :¨
 \zEt¨Q NiL¨  ¨ $%¨=E¨(!& ¨(#¨))#¨@QQ¨ #)1§¨                         

                                                                                                                   
¨=EË¨%'¨E_Q ¨yi nEt¨E¨NQLtE QN¨NQ¨¨NQENtLq ¨oNaQ¨NiN¨z¨Q¨iz¨ Q`iza¨¨ELMT¨ 2¨

 iazQN¨Q NiL¨ti¨ QLQ QN¨^y¨NQtiJQ Eiz¨ y¨bnza¨z¨ait¨JQLEQ¨BiD¨i¨}


                                                  ¨
                                                   62
     Case 1:25-cv-10399-FDS                Document 2-3           Filed 02/18/25         Page 63 of 77           O 
                                                                                                                  O O




@bepNPymeylPevymP5mymP@yZpiwy^5wyP5t@y5Ni@@?yebyle^@yRllp@ly5myle^@ymR^@%yRCymQ5my]R^Rm@?y                       
                                                                                                                 
                                                                                                                  

lPevRbOyv@i@ymey=ebmie] yrb=@in5SbmR@lyvep]?y<@ySbtSm@? &yl@@y5]ley !ty !  y

2/y##  y  y ?ep<]@yZ@eg5i?wy?R?ybemy<;yi@miS5]y5L@iyPpbNyZpiwyvP@i@yJi@g@ileby                           

                                                                                                                 
i@geim@?ypb5dS^eplytem@yebyeE@bl@y<@Ji@y?@]R<@i5mSeblyP5?y=eb=]p?@?y<pmy?@5?]e=\y5my

=eb=]plReb y

        1P@y?@Db?5bmy;Np@lymP5myRmyRly@]@t5mXbNyJi^yet@iylp<lm5b=@ymeybemy5==@gmymP5mymP@y

lm5m@^@bmlyRbymP@y9?5tSmlyi@I@=my:y5=hpSmn5]yeCymP@y?@Db?5bmlyeby(epdmlyy5b?yy )ev@u@i y

mP@yi@b?@iRbNyeCy5yt@i?S=mySbyeg@by=epimySlybemy5y^SdYlm@iS5]y5=my5lymP@y?@Db?5bmy>ebm@b?ly
                                                                                                                  


.5mP@i ySmy=e^`qbS=5m@lymP@yHb5]RmwyeCymP@y?@]S<@i5mSebl y:?ySmlygiebepb=@^@bmySbyeg@by=fsiny

@blpi@lySmlypb5bR^Smwy /@@y! !#y,5lly5my"y -p<]T=y5Gi^5mSebyRbyeg@by=eqiny

gietR?@lyl5DNp5i?ly5N5Sblmy_Slm5\@l y *b?@@? ymP@y5pmPeiSmwypgebyvPR=PymP@y?@Db?5bmyiB]S@ly Uy

g]5=@lyg5inS=p]8iyS^gein5b=@ypgebymP@yZpiwlygiebepb=@^@bmyeCyRmlyHb?SbNlyRbyeg@by=epiny 0@@y

 ! y2/y5my y /eme^5wej +y  y?Rll@bmSbN y 5iNpRbNymP5mymP@yJi@ve^8bly
                                                                                                                  
                                                                                                                  
  !!! !mP5mymP@yZpiwyv5lyqb5bS^eply5N5Sblmy=ebtR=mSebyeby=5gSm5]y7kV?y  

Hilm?@Ni@@y^pi?@iyyv5ly5by5=hpSmo5]yJiy?ep<]@y[@eg;?wygpigel@l  1Ppl y5yt@i?S=myWby
                                                                                                                  
xylp<lm5b=@ySly5yHb5]y=e]]@=mSt@y?@=SlRebyyi@5=P@?y5L@iyM]]y?@]R<@i5mSeb y=eblS?@i5mReb y6c?y y $
                                                                                                                  /O
=e^gie^Sl@y5^ebNymP@ySb?StS?p5]y[pieilyy'b?yvP@bymP5my?@=SlSeby3Sl4y   !!

 ! Rmy3<@=e^@l4y@bmSm]@?ymeyM]]y?ep<]@y[@eg5i?wygiem@=mReby y@^gP5lSly5??@? y ! 5my ! y

=SmSbNy  !ty ! "y,5lly""" y"# y  y ?@=]SbSbNymeyNRt@y@F@=mymeymPAy                           
                                                                                                                       
                                                                                                                        



t@i?S=myi@=@St@?yKe^ymP@y]RglyeCymP@yJi@^5bySbyeg@by=epinyvep]?y@]@t5m@yJiayet@iy

                                                                                                                      
                                                                                                                       

                                                                                                                   

  =OLB0EE&=O =$O?B 7O!,J;&=E OE.&O$&(=$ =EO 8D?OB&80&DO?=O8 =,J ,&O+?;O O DD O EOO 
$0D#JDD&$OL.&E.&BO O4J$0#0 8O$&E&B;1= E0?=OE?OE&B;1= E&O@B?#&&$2>,O" D&$O?=O O@B?#&$JB 8O,B?J=$O0;@80# E&$O%?J"8&O
4&?@ B$NO .&OJ@B&;&OJ$0#0 8O?JBHO&M@9 0=&$ O. EO#?=DE0EJE&DO =O #AJ0EE 8O0DO=?EOE?O"&O#?=I?98&$O"NOF:&O)C<O
?'OE.&O5J$,&DO #E0?= O =$OE. EOE.&O$&E&B;1= G0?=O$?&DO=?EO$&@&=$O?=O#.&#6; B6DO?=O O)B;O  .0DO8 =-K ,&O0=O
 $?&DO=?EO1=*B;OE.&O?JBHO DOE?OE.&O#3#J;DG =#&DO.&B& O

                                                         y

                                                         63
      Case 1:25-cv-10399-FDS             Document 2-3     Filed 02/18/25      Page 64 of 77




ht<hj8\=@  ~ 3@d@~jM@d@~w8h~\`~v@d>P=j~8_\`t\=@>~P\~`b@\~=`tdj~M@d@ ~d@jdP8X~`D~jM@~>@H]?8\j&~

{~>`@h~\`j~vP`X8j@~jM@~bdP\=PbX@~`D~>`t<X@~V@`b8d>y                                                
                  

        0M@~>@H\>8\jh~Z`jP`\~j`~>PhZPhh~8Xh`~;Lt@h~jM8j~>`t<X@~V@`b;>y~<8dh~d@bd`h@=trU`\~ 

<@=8th@~hM@~>P>~\`j~=`\h@\j~j`~8~ZPhsQ8X~8\>~jM@d@~w8h~\`~Z8\PHhj~\@=@hhPjy~j`~>@=X9d@~`\A~

0MPh~8dLtZ@\j ~j`` ~Ph~wPjM`tj~Z@dPj~

        *~>@H\>:jh~=`\h@\j~j`~8~ZQhjdP8X~d@Z`v@h~:y~>`t<X@~V@`b;>y~<8d~j`~d@jdP8X~

ct`j8jP`\~8\>~=Pj8jP`\~`ZPjq@> ~ $v~!$ ~.8hh~ ~~! ~

+`\h@\j~Z8y~<@~@xbXP=Pj~`d~PZbXP=Pj~ ,xbXP=Pj~=`\h@\j~Z8y~`==td~<y~@PjM@d~Z`vP\L~Id~8~ZPikdP8X~'~ |~

`d~8Ld@@P\L~j`~`\@~ !$v~$%~.8hh~ ~~ ~ +`\h@\j~j`~8~ZPhlfP8X~

                                                                                                 
Z8y~<@~PZbXP@>~wM@d@~8~>@H\>8\j~M8>~jM@~`bb`dqt\Pjy~j`~`<V@=j~4j`~8~>@=X8d8jP`\~`D~8~ZPhmeP8X5~ 

:>~GPX@>~j7a~>`~h`~ $ ~.8hh~8j~~ /@@~$ $v~ $$~->~
                                                                                                    

$ ~~hj~+Pd~ ~2M@d@~jM@~>@H\>8\j~hPjh~hPX@\jXy~<y~8\>~>`@h~\`j~`<V@=j~j`~jM@~
                                                                                                    

>@=X;8jP`\~`D~8~ZQhjdP8X~@v@\~jM`tLM~M@~M8h~8~GPd~`bb`dqt\Pjy~j`~>`~h` ~8~=`tdq~Z8y~bd@ht[B~MPh~ 

=`\h@\j~4ct`j8jP`\~8\>~=Pj8jP`\~`ZPjq@>5 ~ /@@~8Xh`~$ $v~ $$~->~%$ ~%" % ~

%jM~+Pd~ ~=@dq~>@_P@> ~~1/~# ~ ~8~=`tdq~Z8y~P_F@d~=`\h@\j~`\Xy~wM@d@nM@~  
                                                                                                
=Pd=tZhj9\=@h~b`hPjPv@Xy~P\>P=8j@~8~>@H\>8\jh~wPXYP\L\@hh~j`~8=ctP@h=@~P\~jM@~ZPhjdP8X~`d>Cd~ ~ (~
                                                                                                

 4ct`j8jP`\h~:>~=Pj8jP`\h~`ZPjq@>6 )~ $ $v~$#%~->~  ~ #~>~+Re~

%# ~+`\h@\j~4j`~8~ZPhjdP8X5~\@@>~\`j~<@~@xbd@hh ~<tj~Z8y~<@~PZbXP@>~J`Z~jM@~j`j8XPjy~`EpM@~ ~ S~

=Pd=tZhj8\=@h~8jq@\>8\j~`\~8~>@=X8d8jP`\~`D~8~ZPhjdP8X ~

        *h~\`j@> ~jM@~+`tdq~M@d@~>@=X;@>~8~ZPhjdP8X~8K@d~jM@~Vtdy~d@b`dq@>~jOd@@~jPZ@h~jM8j~oN@y~
                                                                                                    
 w@d@~>@8>X`=W@>~ *K@d~jM@~h@=`\>~jPZ@ ~jM@~+`tdq~>@j@dZP\@>~jM8j~jM@~Vtdy~M8>~@\L8L@>~P^~>t@~T~}~

 8\>~jM`d`tLM~>@XP<@d8jP`\h~8\>~L8v@~jM@~     "  #$P\hjdu=jP`\~<@Id@~h@\>P\L~jM@~Vtgz~j`~


                                                  ~

                                                  64
        Case 1:25-cv-10399-FDS          Document 2-3         Filed 02/18/25       Page 65 of 77



MNf^GNu@|NZu|]Nu 6@yy@J] yN||y/NlNu@e5@yJ, - ruo^MNy|]@|^Q@b u @Y)Ku
                                                                                               0"
                                                                                                
M N@lM|]ouo []MNe^GNu@|^ol uNy|oJo ua|]o |]@^l[@[uNNMol@NuM^J| |]NJo u_#i@ 1

y|@|NClN|]NO^MNlJNouDr@u|oQ|]NN^MNlJN Nre@^l|o|]NjDN|]Nf@@rrf^J@GeP|o

|]NJ@yNDMyNlM|]Nio |UuZu|]NuMNe^HNuB}^ol* (%00%,0"%("00# 0%0+% (%

*0"0 00*"%0 %,0#0 %00#&0 (%00+% )%0%"0 +0 #%0leNzy

|]N@ydVoi|]NJo uyoiNZu|]NuNreD@|^oloQ|]Ne@Nir]@y^y@MMNM 7NN
                                                                                                           

       +%0 #0 6Cyy !!2R @XNuM N@lM|]ouo []MNf^GNuB~gol   
                                                                                                           


|]Nb u|aLN@M^yN|]Nb M[N|]@||]NFN l@GeN|ouN@J]@NuM^J| |]Nb M[Ni@lo|ruqsNuf

yNlM|]Nb uo |@[@^l^|]o ||]N^uJolyNl|  leNyy|]Nb u@ydUuyoiNZu|]NuNrf@l@|^oQ<

|]Nf@ 2l|]N`ulo|N|o|]N-o u |]Nb uyrNJ^TJ@ffy|@|NM :|=oJol|^l N|oMNf^GNu@|            




o eMGNZ|^fNClMolfyNuN|oUuJN y|oJokruoi^yN|]NyNMNNre]NeMGNf^NW i@d^l\^| c 
                                                                                                           
                                                                                                               

JfNF]@||]No fMl|JolyNl||oJol|^l ^l[|]N^uMNe^GNu@|^oly
                                                                                                          3
          ,|owN9CnlN||^'+0@u[ NMUu|]N-o u|o[^N|]N (,        "(-0^ly|uJ|^om
                                                                                                   $|]%
                                                                                                        
Tl@ey|NrGNUuN|]N-o uo eMMNJf@vN@i^y|u^@f 7NN #0 6@yy@|+yNN$/  ,

      +%06@yy Jo lyNfyuNt Ny|Uu (,          "!(.0^ly|u J|^om&
                                                                                                           
rNui^|:NM>|]N^lSNuNlJN|]@|Gp|]r@u|^NyNuNruo^MNMDorrou| l^|oGN]NFMolroy^GfNh

@f|Nw@|^Ny|o@i^y|ua@f 7rNJ^TJ@ee ol.uaM@ 4 lN  @XNu|]uNNM@yoQ                   
MNf^GNu@|^oly ]Nl|]Nb uyNl||]N^uTuy|lo|N^lM^J@|^l[|]@|]N]@MNl[@[NM^lD

N]@ y|^NuN^NoQ|]NN^MNlJN@lM]@;M?INNl l@GeN|ouN@J]@ l@l^io yNuM^J| 
                                                                                                           
,||oxN9@llN^F[ NM|]@||]Nb u]@MNl[@[NM^lM N@lM|]ouo []MNf^GNu@|^oly @yA|D
                                                                                                               

                                                                                                              

^ir@yyN DMy]o eMHN[^Nl|]N (, "(-0^ly|u J|^ol 8]NUeeo^l[6olM@ ]N|]N '
                                                                                                 
b uyNl|@yNJolMlo|N@XNuMNe^HNu@|^l[Uu@rruo^i@|Nf|o]o uy y|@|^l[|]@|JolyNl{y (              




@y lB}@^l@GfN ,||owN9EnN|^@[@^lF[ NM|]@|M NDM|]ouo []MNf^HNu@|^oly]@M


                                                    

                                                   65
                                                                                                               
       Case 1:25-cv-10399-FDS           Document 2-3       Filed 02/18/25      Page 66 of 77
                                                                                                          




]55{m98+W889n5fL498pE9P{f +nE]d9S9nnS89+8S]5R98  9:9[n95]{Wn9UJW+fC{LWCtL59  K

pE+p8{9+W8pE]f]{CE89UL49f+pL]WnE+8]55{ff98+W8d{nELWCAfpE9LWnpf}5pJ]Wdf9n{V+4T 
                                                                                                     
+n+0i9]:pE9U9C+ULVdSL5+pL]WnL:pE9P{ff9z9889+8S]5R98+C+LW #99fpE9U9nnLW,
                                                                                                     
                                                                                                   
f9V3R+4S9z3]{[889?Wn95]{Wn9SW]3C{9npE+ppE9f9n{UppE9pJ59+8]5+p98Ag+nM

n{889W+W8{[9d95p98 %999?W8+Wp +f9W$9+8n"]pL]Wp]LnVJnn+p

         SpE]{CEpE9]{fv8L8W]pnd95L@5+SS+nR89?Wn95]{Wn9SL:pE9E+8+W]4P95pL^Xp] 

pF9895S0f+pJ]W]:+VLnyL+U5]~Wn9UE+8V{SpJdU9]dd]fp{WJpL9np]]L590W]4P95pL]WJ:pE9JW

>5pE+8]W9 'LS9+LpJWCAfpE9Pp]9Wp9fpE95]{fvf]]V+B9fpE9]~iv+W[]{W598uH9

P{f+n+C+JW+p+WJVd+nn9]WpE919l]]W]:{U 89?Wn95]{Wn9U5]{S8E+97oR98Q

p]49E90f8]WpE9Lnn{9 {fJWCpE9n{4n9e{9Wp8Ln5{nnL]W+4]{pn5E98{UJWC+np-w{nE90fL|D

fLCEp+B9fpE9]{fv895U398+VLnyL+U5]{Wn9UE+89p+W]pE9f]dd]fv{WJp p]L\=]kpE9_~fp 
                                                                                                      
                                                                                                      
]:Lpn8Lnn+pJn>5pJ]W !+npU5]{Wn9U5]{S8E+95]VV{WL5+p98p]pE9]{fp2]4P95pJ]W`f  

f9e{9npp]d]SSpE9P{f]fnELS9pE9P{f +nnpJUU+ppE95]{fpE]{n9+LpLWCJWpE989UJ49f+pJaY

f]]V+B9fpE9895S+f+pJ]W]:pE9VLnpfJ+S Wnp9+889?Wn95]{Wn9Un+L8W]pEJWCp]pE9]~jp

+4]{ppE9VJnpfJ+U0W8pE9Wdf]599898p]pE95]{fvE]{n9np9dnE9f9pp]l9+5Rn]W896U.h98q]

pE9V98L+28]WS]]R9fnpE/ppE9)]VV]W9+UpE*>LS98VJn9f+4U28LSS5]WpJW{9p]<cNU

LpELpndf]n95{pJ]W]:x989?W8+Wp

          pny+JWn5f98{SLp p]49UJ99pE+pJ:89?Wn95]{Wn9U+Wp98p]]L59+W]4P95pL]WrbpE9

]{fpLp]{U8W]pE+9499WE9+f8 %LCWL;O5+WpU89?Wn95]{Wn9U9f9Z]nEfJ\RJWCJ] pn 
                                                                                                      
#9LpE9fpp]l9+5Rn]WW]fpp]l9(+WW9ppLE+n99fW99898pILn]{fvp]LWe{Jf9E9sG9f

5]{Wn9SE+82]4P95pL]WLW]f89fp]49E9+f80W8pE9]{fvE+nW99f89\J985]{Wn9UpE9

]dd]fp}WJpp]49E938JW]d9W5]{fv]f+pnJ8940f  &E9]{ivf95]W9W98V2pLV9n+p




     !      !
                                                     
                                                     66
                                                                                                     !
                                                                                                     
     Case 1:25-cv-10399-FDS              Document 2-3       Filed 02/18/25       Page 67 of 77




Cn lzFdzqFpFz{ 5z{D>zBFRqF{UFDFCdA>{YnlnJiYz{q_>d DFPlzFCnlzFd>zcFD{n>DE%rFzz

{UF2nqUYdF{UF`q>zDFdYBFq>{YlT{nq>YzF>lnB`FC{Ynl>Bn{{UFFqDYC{zdYo 0nwG
                                                                                                           

5>Ccznl>zln{zUYl_lOnvYlT{UF2nq{U>{UF>l{FD{ni>cF;UYz=>qTiFl{?lD{V/{{U6&
                                                                                                          
                                                                                                           
2nzDFCYzYnl>Bn{{UFFqDYC{zdYo>zln{UnY{zUndDBF?lDY{znFqnqzqnlT                  
nB`FC{Ynl 0{{nxF5>CcznlFl{znK>q>z{nzTTFz{{U>{Y{>z>dinz{dYcF{UF2nqYL
                                                                                                            
                                                                                                           
                                                                                                            

                                                                                                           $
                                                                                                           

DYqFC{_lT>FqDYC{nJ{UFzBnqDYl>{HCU>qTFz Bln{i>cYlTCU>lTFzUF?l{FD 9UF2nj|               $ 

QlDzY{U?uD{nBFdYFF}U>{UFlCnlzFdUF>qD{U>{{UF`q>z>{>lZio>zzFRq>{UYqD{YkF

@D>iYz{q_>d>zYlFY{>BdF>{oFqU>ozUFinz}CqCY>donYl{Yl{UF{qY>dCnzFdndDzYM

zYdFl{dYJFDYDln{CnlzFl{{n>iYzY>d

       0zzCU{UF2nqDnFzln{CqFDY{0{nyF5>Ccznlz>FqiFl{{U>{UFd>CcFD>l                      




noonq{lY{{nBFUFAD 3FPlzFCnlzFdzzYdFlCFDFzoY{F>iodFnoonqlY{nBFUFADY'
                                                                                                           
DFFiFDCnlzFl{  !7>zz>{ UFl{qY>d`DTFnlnlYlY{Y>{YFDFCe?uFD[
                                                                                               
iYz{q_>dDFPlD>m{zzYdFlCF>zDFFiFDCnlzFl{UFqF{UFqF>z>iodF{YiF{nnB`FC{DFz\Y{F ]
                                                                                                             

                                                                                                 
ln{BFYlTD_qFC{d>zcFDB`DTF  2N    7>zz0oo2{$($#

$$! zYdFlCF>zln{CnlzFl{UFqF`DTFzCnlDC{>zznYl{_iYD>{YlT{nDFPlzFCnWzFd
                                                                                                                  



  >z~nRqFCdnzF>lnB`FC{YnlSniDFPlzFCnlzFd{nUFDFCdA>{YnlnJ>iYzq_>d 

       4Il?zzi_lT {U>{{UFDFPlD@{UFqFDYDln{CnlzFl{{nUFiYzY>d{UFf>

YzCdF?q{U>{>qF{qY>dYzoFqiYzzYBdFzndnlT>zUFqF>zi>lYPz{lFCFzzYRqUFiYz{qY>d           ^ 
                                                                                                           
                                                                                                           
   #!7>zz>{# 9UF{q_>d`DTFzBFdYFJ{U>{{UF`qYzl>BdF}nqF>CU>FsDYC{)X>z 
                                                                                                           
dnlTBFFlCnlzYDFqFD{UFCd>zzYCB>zYzRq>oqnoFqiYz{qY>dpn{>{Ynl>lDCY{>{YnlniYFD 
                                                                                                           g*
                                                                                                           a+
     !7>zz>{ 8FF  !:8>{!"DFzCqYBYlTUlT`q>zoqn{n{oYC>d,-            b 
                                                                                                             
                                                                                                            


F>iodFnJi?lYPz{lFCFzzY  1FC>zF{UF2nUFqFU>DlnDnB{B>zFDnl{UF`qzthn{Fz<.
                                                                                                 




 $"""#  "!     !  $

                                                   
                                                  67
      Case 1:25-cv-10399-FDS                Document 2-3            Filed 02/18/25         Page 68 of 77

                                                                                                                    

                                                                                               m
vYG(vzY7`7~s7>nGvzG7?Y7s7s`qv~ GzB`?7sBYGjzzGxzG~GsGBvYG)vzi +

Y7?vs`sGBBGo`>Gz7`vs~vnB>GT`oGYGzG7~q7s`L~sG?G~~`QzYGq`~z`7n>CGB

vsYGBG7Bov?l

        '~~7GB7>v GYGQzGxGz~vsvs>GY7oIvIYGjz`sY`~?7~G~GsYG(vz^z@

svG~svsGvI^`?Y`sB`?7GB7WzGGqGsvs7svIYG?Z7zWG~  -sYGKfz~svGYGjzzvG 
                                                                                                                    

                                                                                                   ,
Y7YGY7B>GGss7>oGvzG7?Y7s7s`qv~ GzB`? -tYG~G?vsBsvGYG~7GB[8 

YGGzGBGGxoB` `BGB>TsB7qGs7oB`MGzGs?G~`svzvx`s`vs~7sB~7GvIq`sB=D

Y7?vs~Gs~~`~s97`s7>oG -sYG`zY`zB;BOs7osvG7SGzYGY7B>GGsW` GsYG a
                                                                                                                    
   `s~z?`vsYGjz~7GBY7YG?vs`sGBv>G77s`qx7~~G 5YGBG~?{b>GB%              




YGq~Gn G~7~~<lnB` `BGBvsYG`zxGz~xG?` G~vsYGG `BGs?GGxn7`u`sW                                 


                  4vqG qGq>Gz~ vI YG jz Pzqn >Go`G G Y7 YG G `BGs?G
                                                                                                                    
                  ~}7~~G~ YG >zBGs vI xzvvI G~7>o`~Y`sX _G GoGqGs~ vI YG                           

                  ?Y<WG~ >GvsB 7 zG7~vs7>oG Bv> (vs Gz~Go  vYGz~ KfsB YG                            
                  G `BGs?G J:`o~ v qGG Y`~ ~;B<B 7sB BvG~ sv ~N?`Gsn
                  G~7>n`~YYGsG?G~~7zGoGqGs~vIYG?Y7zWG~ 5YGBGGxB` `~`vs
                  `~ sv BG v o7?l vI GMvz vz B`o`WGs?G> z9YGz 7 ~`s?GzG
                  7BYGzGs?Gv vz`sB` `B7oxz`s?`xoG~ 7sBqvz7o ?vs `?`vs~ 5v
                  ?vs`sGvBGo`>Gz7GvoB>GU`oG7sBvuo~Gz GvQz?G~v
                  ?vqxzvrh~GYG~GBGGxoYGnB>Gn`GR                                                      




5YGvsozG7~vs7>nG`sGzxzG7`vsvIYG~GsvG~7sB~xG?`O?7ooYGKgs7osvG7~Y7\kc
                                                                                                   .       



                                                                                                 / 0
?voBsv7WzGGvs;vIYG^zGG?Y7zWG~7sBVYGzBGn`>Gz7`vs~voB~GzGsvx}v~
                                                                                                                    
                                                                                                                    

         *vzYGBGLs~Gvsv?o7`qY7YGsvG~GzG~~?Gx`>oGvB`MGzGs`sGzxzG7`ws~                   
~?YY7YG(vz~YvoBY7 G`sy`zGBTzYGzz`sW~]voovx7z`?n7znYGzG'v|G !"                        
                                                                                                                    
                                                                                                                    
67usG`Y7E`?G<WGBY7YGkzY7BGsW7WGB`sBG7sBYvzvWYBGn`>Gz7`vs~7sBA$voF&
                                                                                                                     



sv7WzGG 4GG                 *B~(`zsv7>~GvIB`~?dH`vsp
                                                                                                    1 
                                                                                                                         




                                                                                                       2 3
                                                                                                       e#
 & *  * *$ *'  * *'  *  * * *'*!% )*  )* (  *  *%*      !* *
  * *%#** *  *   *'** * **  * *    **  *  * *  * **" * *
  *%*'  *% #*' ! *  )* % * %** *&   *  )*'% * *& *  *! *% *

                                                         

                                                         68
                                                                                                              
     Case 1:25-cv-10399-FDS           Document 2-3        Filed 02/18/25       Page 69 of 77




cmNPLjJcm_Dlc{cDj_cPm|`PcmLuPD{cm_jDNDlH|lIqPucm `cL`|`Pguru{IqrmM QN k.
                                                                                                      
                                                                                                       
|`D||`P PuPNPDNjrLiPN  ;ruPrPu NPYm{PLrm{Pj{LrmNL|cllPNcD|PjD\Pu|`P                 




NPLjGuD|crmrU|`Plc{cDjcmmr D{__P{|{|`D||`P|`r_`|r|`Pu c{P

       >`PNPYmNGm|Lrm|PmN{|`D||`P5ru~XcjPN|rLGuP]jjLrm{cNPu|`D|D{DmDj|PxD}dP|9

Dlc{cDj c|LrjN`DP{clsjD{iBPNC|`Pgu|r{sPLc^|`PL`Gu_P { rm `cL`c| D{

NPDNjrLiPN 6PYmNGm|:DuPm<PDO{;r|crm|r6c{lc{{D|, 7r PPu B|C`PtP{|crm

 `P|`PuDlc{|ucDjc{DssursucD|Pcm|`PLcuLl{|DmLP{rUD_cPmLD{Pc{mr|Dm{ PuPNK

DssjcLD|crmrUDlPL`DpcLDj[uljD ((*';D{{D|( tr|cm_( "( (#"

?=(), (*& $-+'  =PP#  (&  (((+;D{{(-( )"' &""*  NPLc{crm/

 `P|`Pu|rNPLjJPDlc{|ucDjc{ c|`cm|`PNc{LuP|crmrU|`P|ueDjgN_P  <D|`Pu |`P5ru

Lrm{cNPu{{PPuDjXL|{{L`D{|`P{|D|PlPm|{cmDgu{mr|PLrmLPz_|`PcucmDKcjc||ruRDL`
                                                                                                   
                                                                                                   
DmD_uPPlPm||`P|clP{sPm|cmNPjcKPuD|crm{ DmN|`PjPm_|`DmNLrlsjPc|rU|`P|ucDj %( 01

(*';D{{D|() =PP (  ())-@=+** ++) &"#"   P`DPmPPuuPtcuPNF |ucD 
                                                                                                V
gN_P KP[uPNPLjGucm_Dlc{|ucDjKD{PNrmguNPDNjrLi |r[uLP|`Pgu|rNPjcKPuD|P[uE !

lcmcllsPucrNrU|clP |rtP{|crm|`Pguru{cmNccNDjj |rLrm{j| c|` rurK|Dcm|`P

Lrm{Pm|rWPc|`Pu|`Psur{PL|ruruNPYm{PLrp{Pj |rc{{PD{ssjPlPm|Djgucm{|uL|ernru%
                                                                                                 82
                                                                                                 
|rLrm{cNPuDmr|`PulPDm{rUKuPDicm_|`PclsD{{P 

       A`PuP`PuP |`Pgu`DNKPPmNPjcKPuD|cm_ZPND{ `DNuPPN|r|`P5ru|buSQ
                                                                                                   
|clP{{|D|cm_|`PLrjNmr|D_uPP `DNKPPm_cPm|`P !$ '(cm{|uL|crmHNuP|yPN 4 3
                                                                                                   
`ru{jD|Pu c|`Dmr|PsjDemjcmNcLD|cm_|`D||`PLrjNmr|D_uPPD{|r|`PPjPlPm|{rU|aT

 (GmN|`D||rLrm|cmP|rNPjcKPuD|P rjNKP]|cjP D{icm_|`Pgurm bfL`L`Dv_P{ h

|`P PuPNPDNjrLiPN D{mr|mPLP{{Du|rNP|PulcmP|`D||`PuP D{lHfY{|mPLP{{c|[wD
                                                                                                   

lc{|ucDj =PP! ( #  ( ((,;D{{#"$+ $"$,#"#- &""+          `PuPZmDjor|P



                                                 #+

                                                 69
                                                                                                   
      Case 1:25-cv-10399-FDS                  Document 2-3           Filed 02/18/25          Page 70 of 77



                                                                                                                         
@YRufF5u>^5\5^dYTukT5]kInY3-PQrudf-f54ufF-fufF5uMk^rup5^5ukT-2P5ufYu3YR5ufYu-ukT-TIRYkcu                                
                                                                                                                         




453IdIYT uMk4E5up-duaYfu^5]kI^54ufYuIT]kI^5upF5fF5^ufF5^5up-du0ru^5-dYT-2P5u\^Y2-2IQIfruZ8u
                                                                                                                         
                                                                                                                         
                                                                                                                         
kT0IRYkdun5^4I3fduY^uI9uj5uMk^rupYkQ4u3YTd5TfufYuDF5^u45QI25^-fIYTd u u'-ddu-fuuT u

#k4E5u4I4uTYfu5^_uITu453PITITEufYu\YQQuNk^ruYTupF5fF5^uDF5^uITdf^l3fIYTduY^u45QI25^-fIYTup[lQ4u

25uQIO5PrufYu^5dYPn5ufG5u45-4QY3O u

         'Y^5Yn5_ ufF5u45;T4-Tfdu-^EmR5TfuIETY^5dufF5u:3fufF-fuYT5uY9ufF5ufF^55u3F1E5duF.Lu

P5dd5^uIT3Pk454uY<5Td5du )5^5>^5 uI9uk\YTu]k5dfIYTITE ufF5uMk^ruF-4uIT4I3-f54ufYufF5u"Yk^gufF-fu

fF5rup5^5uTYfu45-4QY3O54uYTu-QPufF5u3F1E5d ufF5uYTQruY\fIYTupYkP4uF-n5u255Tu>^ufF5u"Yk^iuhYu

d5T4ufF5uMk^ru2-3Ou>^uB^iF5^u45PI25^-fIYTdu (55u  u'-ddu-fuu#k4E5udFYkQ4uUYfu

IT]kI^5u-dufYu\1iI-Pun5^4I3fduYTuP5dd5^uIT3Pk454uY<5Td5d u (k3Fu-3fIYTupYkP4u25uIR\^Y\5^Pru

3Y5^3In5ukT45^ufF5u3I^3kRdf-T35du $fuF-du255Tu^5\5-f54Qru^53YEXIs54ufF-fu45-4QY3O54uMk^I5dut 5u
                                                                                                                         
\-^iI3kP-^Prudkd35\fI2Q5ufYu3Y5^3IYTu u'-ddu-fuu *F5^5ufF5uMk^Y^duF-n5ufqI35u                            
                                                                                                                         %u &u
^5\Y^i54ufF5Rd5Pn5du45-4PY3O54 u-T4uF-n5u-Q^5-4ruF514ufF5u    3F-_E5 u-uMk4E6du

IT]kI^ru3YT35bEu\1iI-Pun5^4I3fdu3-XTYfu-nYI4u3YRRkTI3-fITEufYufF5uMk^rufF5uMm4E5du45dI`5ufYu

d-Pn-E5u AYRufF5uf^I-Pu   -fuu5R\F-dIduITuY^IEIT-P u *F5^5uF5^5ufF5uMk^ruFJ K4u

25?^5uIfuYT5uIT4I3fR5TfupFI3FuIT3Pk454uP5dd5^uIT3Qk454uY<7Td5d uF-4ufH^55ufIR5eu^5\Y^i54u u
                                                                                                                          


fF5Rd5Qn5du45-4QY3O54uYTud5\-^-f5u3F-^E5d uF-4u-P^5-4ruF514ufF5u    3F-^E5 u/V4u 

F-4ud5Tfu-u=T-QuTYf5uIT4I3-fITEufF-fu3YTfITk54u45PI25^-fIYTdupYkQ4uYTPrud5^o5ufYu>^35u+fF5S,ufY!u

3YR\^YRId5u+fF5I^,u455\PruF5Q4u25PI59d ud5T4ITEufF5RufYu45QI25^-f5uC^iF5^upYkQ4uF-n5u255Wu

IR\^Y\5^Pru3Y5^3In5 

                                                                                                                         
                                                                                                                          
                                                                                                                         
 Pa1MaU)a@XLMaZ2)\aP.PaX>&)HaQ.)N)a#1J#X=MP!>#)Na)[)>aE@M1>-aR.)a GX)MP2A?aPBaP.)a7XJ^a@,a\.)R.*HaV*^a$`::^ a 3a

 \*H)a&)&:@#9*'a\CX;&a.[*a6=E:2)&aP@aP.)a7YHAINaW PaR/)aAXHRa\>P+&aP.)=aR@aH)MX=*a')<1"*HQ2@?NaPAaI)#0aa
  Z)H&1%Q a 1Z)>aP.PaPT@K)^a#9M@?a.&a:H*&^a)]EH)NM)'a%A>#)KaP. RaQ.)a@XHRa\Ma(6H)#P4>-a aZ*H&1%PaAP.)a
  MX"@H&6>!P*a#.H-)OaQ.*aAXHQa\Ma)]QH)=):^a#YP1AXMaR@a>@Ra -4Z*a>^aEE) H>#)a@,aFHR1:1P^ a ))a     
_aZ a  a &aa a MPa1H a  a ?AP6>-aP.Saa#DXHPa=XMPaZ@5&aEYPR6>-aEJ)MMXH)aA>aP.*a8XH^

                                                           u

                                                           70
      Case 1:25-cv-10399-FDS                 Document 2-3            Filed 02/18/25         Page 71 of 77
                                                                                                                         



                                                                                                                         

        2SGDGObD8bok>Rs]GboksRRGkokoS8ofsGkoUdbUbRdged\\UbRYsgdgkySdgGedgo8
                                                                                                                         
DG8D\dB[Uk@Gkoeg8BoUBGdg8o\G8koBdadb\}DdbG@}ogU8\YsDRGk )dyGxGg oSGDGObD<pS8k# 

bdoBUoGD8b}B8kGkk8}UbR8k]sBS8bDUbDGGD ksBS=UbfsUg}UkbdosbDGgo8[GbUboSGgGRt\8g
                                                                                                                         
BdsgkG  (dg8YsDRGod]:GksBS8bUbfuUg}dbSGgdyb8BBdgDBds\DU^eGDGsedboSG                                  V 

kog8oGRUBDGBUkUdbdJBdsbkG\odbdo]8[GksBS8gGfsGko 2SGDGObD8bok>Rs]GboUk@8kGEdb

SUbDlURSo /ddbGdoSGgoS8boSGYsg}[bGyoS8ofsGkoUdbUbRoSGYwgdgk8kodoSGUgDG8D\dB[zds\F

S8xG}UG\DGD8Nxdg8@\GdsoBd`GPgoSGDGObD8bo *oUk\U[G\}PgoS8ogG8kdb DGObkGBdvckG\  

BdbkGboGDodoTXk&dsgokDGB\>8oUdbdJ8]UkogU8\

                        

        2SGDGObD8bo8\oGj8oUxG\}gGfsGkokoS8ooSG&dsgr8\\dyBdsbkG\odBdbDsBo8edko qiU8\

UbfsUg}dJoSGYwgdgkodks@ko8boU8oGoSGG|UkoGbBGdJ8b8BfsUor8\ 'GObD8bo-9hGb0G8Dm                        
                                                                                                                              




.doUdbod'Uk]Ukk8o 1sBS=UbfsUg}UkU]eGg]UkkU@\G
                                                                                                                     
                                                                                                                      



        3SGDGObD;ok9hRs]GbogG\UGkkd\G\}db                       x .8kk

   *b oSG1segG]G,sDUBU8\&dsgrSG\DoS8ooSGogU8\BdsgrkSds\DS8xG8\\d{HDoS%$
                                                                                                                     
                                                                                                                         



DGObD8bok]doUdbPgYsgdgkb8]Gk8bDBdbo8BoUbMdg]8oUdbA8kGDdboSGedkoogU8\ko8oG_GboCK

8DI\U@Gg8oUbRYsgdggGR9hDUbRg8BUkoko8oG]Gbok]8DGDsgUbRDG\U@Gg8oUdbk  8o 2SG
                                                                                                                     
                                                                                                                     
1segG]G,sDUBU8\&dsgrG|e\8UbGD 4o6SGegGkGbBGdJGxGbdbGYsgdgySdUkbdoU]e?U8\

xUd\8oGD8DGObD8bokgURSoodogU8\@}8bU]e8hrU8\Ysg} 8o fsdoUbR                        x 
                                                                                                                          
 .8kk    0GBdRbUUbRoS8o5g78BU8\@U8kUboSGYsg~k}koG]Un8 ! W
                                                                                             " +
L8]U\U8g;DgGBsggUbRGxU\oS8o UJ\GQsb8DDgGkkGD yds\DgUk[k}koG]UBUbZwg}odoSG
                                                                                                                         




                                                                                                                     &=
 $=!06=3,(5=10=        9=    =55= =  =0=    9=   = '=
55=22=6= =  =61=4#8=7$6=6$4=:18,==016$)0#=14(9=186=5+)0#==*84;=42147)0#==,1+=
:$6$4=7$;=$=4$==800(/185=94(6=10=0;=1 =7$=18065= 85=0(6$4=6$=*83;=)0=014=6%=*84<=
(0=  42137=)0#=,1+=(0=(65=,(36(105=0=010=1 =7$=1"055=$4#=$=,554=)0-8=
1"055=6$4=:5=,4,;=01=3)5+=1 =14(10=)0=6$=18475=5+)0#=237(,=93(65=10=6$=5246=)0(6/.5=(0=
6$15=5= $=)48/5605=$4=4=/4+,;=("406=

                                                          

                                                           71
      Case 1:25-cv-10399-FDS            Document 2-3        Filed 02/18/25       Page 72 of 77
                                                                                                          



8@cZfZvxp8xZifiH^~vxZ=C xVC  =i~p{VCa@xV8xxVC@CMf@8fxvVi~a@V8C<CCfUZDf8  (

LZpillip{~fZxxii<x8Zf8f8JO@8ZxSicxV8x^~pipvCx{ZfURp{VZxVvicCvlC=ZP=ZxWi

8cifUxVC^~pipvc8@Cvx8xCcCfxvpCQC=xZfUp8=Z8a<Z8v8f@xVCvx8xCcCfxvxV8xCpCt9AC 
                                                                                                                  
                                                                                                          



  !&"28vv8x$'' n~ixZfU        "&64 #               ! %        




5VC@CMf@8fxv8pU~cCfxVCpC@iCvfixZclaZ=8xCp8=Z8a<Z8vipVCppZUVxxipC=CZC8fZcl:q{Z8a)

xpZ8a5V~v xVCpC8vifZfU{VC0i~p{CclaiC@Zf  @iCvfixC xCf@xixVZv=8vC 4CE

             '!38vv/ll0x#& #&$ '  @C=aZfZfUxiC xCf@p8>.]8a

<Z8vC =Cl{ZifxiZfo~ZpiH^~p~f8fZcZx<C=8~vCZfKC=xZifiHxVC=pZcZf8a^~vxZ=CvvxCdZxb
                                                                                                     *
p8=Z8aipC{YfZ=<Z8vZv8~fZnCxlCiH=ifvxZ{~xZif8a@ClpZ8xZifxV8xpCn~ZpCv8ZUZa8fxpCwmifvF

fix8pp;xC@ZfxVC=Zp=~cvx8f=CvlpCvCfxC@VCpC 

       5VC@CMf@8fxvpCn~CvxCNC=xZCavCC`vlCsZvvZifSicxVC0i~p|xiZfn~ZpCSie

@CaZ<Cp8xZfU_~pipvxV8xVZ=VZvZclCpcZvvZ<aCZfKipc8xZifpCU8p@ZfUxVCv~<vx8f=CiHxVG

^~pv@CaZ<Cp8xZifv 5VCvC=pC=iH^~p@CaZ<Cp8xZifvV8vvCpC@8v8<C@pi=`iHi~p^~@Z?Z8a  

vvxCc 8f@Zfn~ZpZfxi{VC^~pv@CaZ<Cp8xZClpi=CvvCvi~a@Zfxp~@CZclpilCpaZfxjxVC 
                                                                                                       


^ vTf=xZif n~ix8xZif8f@=Zx8xZificZ{{C@      !$!38vv"!"!+
                                                                                                             

  # 1xZvvZclafixxVC=8vC UZCfxVC=ifxCfxiHxVC^~pvPf8afixCxixVC0i~p| xV8y8f[ ,
                                                                                                             
                                                                                                      
                                                                                                      

Zfn~Zpxi^~pipvfi=i~a@<CaZcZxC@viaCaxixVCpCv~axviHxVC@CaZ<Cp8xZClpi=Cvv8f@gkx

ZclaZ=8xC}Clpi=CvvZxvCaI /fZfn~Zpi~a@fC=Cvv8pZapCn~ZpC{VC0i~p{xi~f@Cpvx8fBX

xVC^~pvPf8afixC=icc~fZ=8xC@8@C8@ai=`ifxVC=V8pUCvVCflivxxpZ8a =Cp|8Zf

@CaZ<Cp8xZfU^~pipv8pCl~uip|C@avx8xZfUxV8xxVC^~p8v ZfL=x ~f8fZci~vifcivxiH-VC

=V9pUCv7VZaCxVC@CMf@8fx=ifxCf@v{V8xxVC=ifQZ=xZvpCQC=xZCiH{VCL=xxV8xxVC
                                                                                                      
Zfvxp~=xZifvUZCfxi{VC^~r<xVC0i~p|CpC=ihvZfU @CxCpcZfZfUVCxVCp{VZvZvxpG

i~a@fC=Cvv8pZapCn~ZpCZfn~ZpZfxixVC<8=`8f@Rp{V8cifU{VC^~pipv@~pZfU@CaZ<Cp8z\ifv


                                                    

                                                   72
                                                                                                                      
       Case 1:25-cv-10399-FDS               Document 2-3          Filed 02/18/25         Page 73 of 77                  


                                                                                                            

4FF"3>nn,gg-p>p! 5PFZxENFSngiFD\xEFELe^S`hxSiX`NS`pepPF# 

S`pFm>]EFDSnSe`^?[S`NgieDFnneHpPFZxi~>n>}Pe\FeieHpPFS`ES|SEx>\ZxieiCFS`N

hxFnpSe`FE ,DDeiES`N\~F|SEF`DFpP>pZxiein^SnydEFinpeeEpPFS`nwDpSe`neHpPFgiFnVES`N

ZxENF DB`epCFDe`nSEFiFE8S`pFm>\hxep>pSe`n>`EDSp>pSe`ne_SpuFE=  5Pxn nxDP@$

S`hxS SngiePSCSpFE                                                                                              

         6PFEFI`nFDex`nF\P>n`epDTpGEe`FD>nFnxNNFnpS`NpPFgenppiX>\S`hxYi~pPF~`e9(q
                                                                                                             

nFF[Sn>ggiegiS>pFejpP>pSpDex\EDP@NFpPFexpDe^FeHpPFgieDFFES`Nn  0eipPFiF>ne`O

>\iF>E~ESnDxnnFE>`>DhxSpu>\eHpPFEFI`E@p`e}e`2`ESDp^F`pn@EC>nFEe`
                                                                                                  
De`D\xnSe`ngxigeitFE\~iF>DPFEEyiX`NpPFZxi~nEF\SCFi>pSe`nSn`epgennSC\F 6PFiFKiFrQFiF          
                                                                                                                          

                                                                                                                        




Sn`eiF>ne`KipPF-exitpe>\\e}genppiX>\S`hxS eHpPFZxlein 4FF"3>no >p ) U
                                                                                                                      
                                                                                                                     
 `eFiieiS`EF`X>\eH^epSe`penxCgeF`>pPFKiF^>`}PFiFgieDFnn}ex\Eec\~nFi|Fpf%

S^gF>DPZxi~niFgeiupepPFZxENFS`egF`Dexiu 

                                                             
                                                                                                    
         6RWn-e{iFDeN`SFnpP>ppPFC>ke`iFpiS>\nK\\e}S`N>DhxSpu>\nSn8g<FiP>gnpPFa:enp 
                                                                                                                         
                                                                                                                          
M`E>^F`p>\ix\FS`pPFPSnpei~eHEexC\FZFeg>iE~ZxiSngiyEF`DF !3>nn>p!;

hxepS`N   |   74 "  1e}F|Fi}b iF

pPFiF}>n`e>DhxSpu>\e`>`~eHpPFDP>iNFnS`pPFEFI`E@pnJinpvX>\pPFiFSn`eiXn[eH *&
                                                                                                            

nxCZFDpS`NpPFEFI`EAspeEexC\FZFeg>iE~C~iFpiX>\e`>\\pPFDP>iNFn

          6PFiFKiFpPF/FI`E>`pn3epSe`pe/Sn^SnnSn




                                                                                                            
/>pF' ,xNxnp
                                                                                        i.ezt                           

                                                                                                            
  %%    %! %  %%% % %%%% %%!#% %!%$  %   
!%%%! % !  %"%%! % %  #% ! %%  %! %  %
                                                                                                                      
                                                                                                                  + 
                                                                                                                     
                                                                                                                     
                                                        73
     Case 1:25-cv-10399-FDS      Document 2-3     Filed 02/18/25   Page 74 of 77




Fifth Amendment to U.S. Constitution

No person shall be held to answer for a capital, or otherwise infamous crime,
unless on a presentment or indictment of a grand jury, except in cases arising in the
land or naval forces, or in the militia, when in actual service in time of war or
public danger; nor shall any person be subject for the same offense to be twice put
in jeopardy of life or limb; nor shall be compelled in any criminal case to be a
witness against himself, nor be deprived of life, liberty, or property, without due
process of law; nor shall private property be taken for public use, without just
compensation.

Sixth Amendment to U.S. Constitution

In all criminal prosecutions, the accused shall enjoy the right to a speedy and
public trial, by an impartial jury of the state and district wherein the crime shall
have been committed, which district shall have been previously ascertained by law,
and to be informed of the nature and cause of the accusation; to be confronted with
the witnesses against him; to have compulsory process for obtaining witnesses in
his favor, and to have the assistance of counsel for his defense.

G.L. c. 234A, § 68C

If a jury, after due and thorough deliberation, returns to court without having
agreed on a verdict, the court may state anew the evidence or any part of the
evidence, explain to them anew the law applicable to the case and send them out
for further deliberation; but if they return a second time without having agreed on a
verdict, they shall not be sent out again without their own consent, unless they ask
from the court some further explanation of the law.

Mass. R. Crim. P. 27(b)

If there are two or more offenses or defendants tried together, the jury may, with
the consent of the judge at any time during its deliberations return or be required
by the judge to return a verdict or verdicts with respect to the defendants or charges
as to which a verdict has been reached; and thereafter the jury may in the discretion
of the judge resume deliberation. The judge may declare a mistrial as to any
charges upon which the jury cannot agree upon a verdict; provided, however, that
the judge may first require the jury to return verdicts on those charges upon which
the jury can agree and direct that such verdicts be received and recorded.


                                          74
     Case 1:25-cv-10399-FDS      Document 2-3    Filed 02/18/25   Page 75 of 77




Mass. Guide Evid. 606(b)

During an inquiry into the validity of a verdict, the court may ask the jurors
individually to affirm publicly that the verdict as recorded represents their
decision. However, a juror may not testify about any statement made or incident
that occurred during the jury’s deliberations, the effect of anything on that juror’s
or another juror’s vote, or any juror’s mental processes concerning a verdict. The
court may not receive a juror’s affidavit or evidence of a juror’s statement on these
matters.

Mass. Guide Evid. 606(c)(5)

A juror may testify about whether . . . a mistake was made in entering the verdict
on the verdict form.




                                          75
     Case 1:25-cv-10399-FDS     Document 2-3     Filed 02/18/25   Page 76 of 77




  CERTIFICATE OF COMPLIANCE PURSUANT TO MASS. R. APP. P.
                         16(k)

       I hereby certify that the above document complies with the rules of this
Court pertaining to the filing of briefs, including, but not limited to: Mass. Rule
16(a)(13) (addendum); Rule 16(e) (references to the record); Rule 18 (appendix to
the briefs); Rule 20 (form of briefs, appendices, and other papers); and Rule 21
(redaction).

       This brief complies with the length and typeface limitations in Rule 20(a)(2)
and 20(a)(4) because it is in the proportional font Times New Roman at size 14,
and contains 10,996 total words in the parts of the brief required by Rule 16(a)(5)-
(11) as counted using the word count feature of Microsoft Word.

Date: September 24, 2024


                                             /s/ Martin G. Weinberg
                                             Martin G. Weinberg




                                       76
     Case 1:25-cv-10399-FDS      Document 2-3       Filed 02/18/25   Page 77 of 77




                          CERTIFICATE OF SERVICE

Date: September 24, 2024

Supreme Judicial Court – Clerk’s Office
John Adams Courthouse
1 Pemberton Square, Suite 1400
Boston, MA 02108

Dear Sir/Madam:

      Herewith is the Brief and Record Appendix of Defendant-Appellant Karen
Read in No. SJ-13663.

                               COMMONWEALTH

                                          v.

                                   KAREN READ


      I certify that I have made service via email of this brief to Caleb Schillinger,
Norfolk District Attorney’s Office, 45 Shawmut Road, Canton, MA 02021,
Caleb.J.Schillinger@mass.gov.

                                               /s/ Martin G. Weinberg
                                               Martin G. Weinberg
                                               BBO #519480
                                               20 Park Plaza, Suite 1000
                                               Boston, MA 02116
                                               (617) 227-3700
                                               owlmgw@att.net




                                               77
